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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                 *
 MARGARET E. SHEEHAN,            *
                                 *
            Plaintiff,           *
                                 *
            v.                   *                 Civil Action No. 24-cv-12347-ADB
                                 *
 TOWN OF CARVER, MA, TOWN OF     *
 PLYMOUTH, MA, ALAN G. GERMAIN, *
 STEPHEN G. GRAY, BETTY CAVACCO, *
 MICHAEL MAIN, A.D. MAKEPEACE    *
 COMPANY, JAMES F. KANE, SLT     *
 CONSTRUCTION CORPORATION,       *
 PETER OPACHINSKI,               *
                                 *
            Defendants.          *



                               MEMORANDUM AND ORDER


BURROUGHS, D.J.

       Plaintiff Margaret E. Sheehan (“Plaintiff” or “Sheehan”) is an environmental lawyer who

has embarked on a multi-year campaign to curtail unpermitted “sand mining” and hauling

operations in Southeastern Massachusetts. She brings this action alleging that the towns of

Carver and Plymouth and various town committee members (the “Municipal Defendants”) have

conspired with local sand mining and trucking companies (the “Makepeace Defendants” and the

“SLT Defendants” and, collectively with the “Municipal Defendants,” “Defendants”) to violate

her First and Fourteenth Amendment rights and, in their attempts to silence her activism, have

defamed her and committed various other Massachusetts-based torts. See generally [ECF No. 1

(“Complaint” or “Compl.”)]. For the reasons set forth below, the motions to dismiss are

GRANTED in part and DENIED in part.
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I.          BACKGROUND

               A.      Factual Background

            The following relevant facts are taken primarily from the Complaint, which the Court

  assumes to be true when considering a motion to dismiss. Ruivo v. Wells Fargo Bank, N.A., 766

  F.3d 87, 90 (1st Cir. 2014). As it may on a motion to dismiss, the Court has also considered

  “documents incorporated by reference in [the complaint], matters of public record, and other

  matters susceptible to judicial notice.” Giragosian v. Ryan, 547 F.3d 59, 65 (1st Cir. 2008)

  (alteration in original) (quoting In re Colonial Mortg. Bankers Corp., 324 F.3d 12, 20 (1st Cir.

  2003)).

                          1.      The Parties

                               i. Plaintiff

            Sheehan is a lawyer and an environmental advocate who, earlier in her career, worked as

  an Assistant Attorney General for the Commonwealth of Massachusetts in its Environmental

  Protection Division and as a staff attorney in the enforcement division of the Massachusetts

  Water Resources Authority. [Compl. ¶ 13]. 1 Now in her late sixties, Sheehan has “chosen to

 extend her professional years by representing regional environmental groups and individuals

 without charge in the region where she was born and grew up, i.e., Southeastern Massachusetts.”

 [Id.]. She is “deeply committed” to preserving that area’s “unique ecosystem,” including its sole

  source aquifer, and to giving a voice to community members that might otherwise be voiceless

  “as their health and the peaceful enjoyment of their homes have been threatened and/or already

  harmed by sand mining and hauling operations.” [Id.]; see also [id. ¶¶ 29–30]. She is the



  1
   Sheehan was raised in Southeastern Massachusetts, but she relocated to New Hampshire in
  2017 in part to maintain privacy in her personal life. [Compl. ¶¶ 29, 32].
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recipient of several awards for to her commitment to environmentalism, including the

Environmental Service Award and Land Stewardship Award by the Massachusetts Association

of Conservation Commissions in 2022 (nominated by the Herring Pond Wampanoag Tribe of

Plymouth/Pautuxet); the Clean Water Act John O’Connor Grassroots Leadership Award in 2010;

the Wildlands Trust of Southeastern Massachusetts LeBaron Briggs Conservation Leadership

Award in 2006; and the Life Saver “River Rat Award” from the Jones River Watershed

Association in Kingston, Massachusetts in 2000. [Id. ¶ 70].

                           ii. The Municipal Defendants

       The Town of Carver, Massachusetts (“Carver”) is a municipality in Southeastern

Massachusetts, incorporated in 1790. [Compl. ¶ 3]. The Town of Plymouth, Massachusetts

(“Plymouth”) is a municipality in Southeastern Massachusetts that is not formally incorporated.

[Id. ¶ 6]. Sheehan alleges that both towns, acting through their officials, many of whom have

interests in the sand mining industry, have a “longstanding practice and unwritten policy . . . of

protecting the owners of land on which sand and gravel mining occurs, the operators of the mine

(if different), and the haulers of the mined sand and gravel.” [Id. ¶¶ 148, 212, 277]. “The

unwritten policy extends to impeding concerned residents, and groups, and their advocate

(usually Sheehan) in their efforts to oppose the sand mining industry through administrative and

judicial proceedings.” [Id. ¶ 148]; see also [id. ¶ 212 (similar)].

       Alan G. Germain (“Germain”) owns and operates Alan Germain Trucking (“AGT”), a

truck hauling company. [Compl. ¶ 4]. Germain has served, among other positions, as Chair and

Vice Chair of the Carver Conservation Commission and for some years during the relevant

period as Chair of the Finance Committee. [Id. ¶¶ 4, 21]. He also serves as the Carver Town

Moderator, having been elected in April 2024. [Id. ¶ 21]. His company, AGT, contracts with

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Defendant SLT, discussed further infra, to haul sand and gravel excavated by SLT from at least

one site located in Carver. [Id. ¶ 21]. Although his company contracts with SLT, Germain has

not recused himself from matters pertaining to SLT when they have come before his various

committees, including at least one permit application that was under consideration by the

Conservation Commission for SLT’s mining operations. [Id. ¶¶ 22, 46–49]; see also discussion

infra.

         Stephen G. Gray (“Gray”) is domiciled in Carver, has been on the Carver Zoning Board

of Appeals (“Carver ZBA”) for some thirty years, and he continues in the role of Chair of that

body as of the filing of the Complaint. [Compl. ¶ 5].

         Betty Cavacco (“Cavacco”) has served, among other positions, as Chair of the Plymouth

Select Board. [Compl. ¶ 7]. As of the filing of the Complaint, she is a member of the

Community Preservation Committee and an elected member of its Town Meeting. [Id. ¶¶ 7, 24].

         Michael Main (“Main”) serves as Chair of the Plymouth Zoning Board of Appeals

(“Plymouth ZBA”). [Compl. ¶ 8].

                            iii. The Makepeace Defendants

         A.D. Makepeace Co. (“Makepeace”), a corporation established in 1854 and

headquartered in Wareham, Massachusetts, is among the frontrunners in that region in

excavating, mining, and selling silica and gravel products commercially. [Compl. ¶¶ 9, 14–15].

It is “perhaps the most significant” participant in the sand mining industry in Southeastern

Massachusetts. [Id. ¶ 263]. James F. Kane (“Kane”) is the Chief Executive Officer and President

of Makepeace. [Id. ¶ 10].

         Although headquartered in Wareham, Makepeace has been a generous corporate

contributor to towns like Plymouth, where it donated land for a new fire station, [Compl. ¶¶ 262,

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255], and Carver, where it donated a walkway around the elementary school and off-road

vehicles to the Carver Police Department, [id. ¶ 276].

        Makepeace’s website proclaims that its “sand and gravel operation emerges from bog

construction and renovation,” but bogs have not, in fact, been constructed or renovated where

Makepeace has excavated sand for commercial sale. [Compl. ¶ 14]. Further, Makepeace

operates “in some, if not all, instances[] contrary to the state’s agricultural/horticultural

restrictions . . . and their attendant tax benefits, without the requisite local permits or with

permits obtained on the basis of false statements, and often in violation of the zoning and traffic

rules for each town.” [Id. ¶ 15]; see also [id. ¶¶ 17–18 (alleging Makepeace and its soil division,

Read Custom Soils, LLC (“Read”), 2 operate without permits)]. As a result, Makepeace has

“placed at risk the health of the neighborhoods that surround [its] land” and has also “placed the

Plymouth-Carver Soul Source Aquifer at risk, obliterated portions of the rare Atlantic Coastal

Pine Barrens forest, and impinged upon the rights of the indigenous Wampanoag nation, all for

the purpose of reaping profits from its strip-mining operations.” [Id. ¶ 16].

                            iv. The SLT Defendants

        SLT Construction Corporation (“SLT”) is a Carver-based company that excavates, mines,

trucks, and sells silica sand. [Compl. ¶ 11]. Within the sand mining industry, it fills the roll of

the miner by extracting sand and gravel and then trucking it. [Id. ¶ 178]. SLT contracts with

AGT and others to haul excavated sand and gravel from mining sites, which are almost

exclusively located in Carver, to other locations for cleaning and sale. [Id. ¶ 19].




2
 Read Custom Soils LLC (“Read”), which is not a defendant but is a relevant player in
Plaintiff’s allegations, is a division of Makepeace that serves as the “middleman” between
Makepeace and its buyers of silica sand. [Compl. ¶¶ 9, 26].
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       Peter Opachinski (“Opachinski”) is the President and co-owner of SLT and works from

its headquarters in Carver. [Compl. ¶ 12]. Opachinski is a professional and personal friend of

Germain, with whose company SLT contracts. [Id. ¶ 180].

                            v. The Doe Defendants

       Among the Defendants in this case are individuals whose names remain, for the moment,

unknown. [Compl. ¶ 27]. These individuals operate an anonymous Facebook page called “Meg

Cost Us Millions” (the “Meg Millions Page” or “MMP”), discussed further infra, which

appeared in January 2023. [Id.].

                       2.      Save the Pine Barrens, Inc.

       On March 25, 2021, Sheehan filed a Charity Registration Form for a grassroots

organization that she had helped form called Save the Pine Barrens, Inc. (“STPB”). [Compl.

¶ 33]. STPB’s purposes, as stated in its Bylaws, are “charitable, educational, and scientific,”

including “research, outreach[,] and dissemination of information about preserving, protecting[,]

and stewarding land and water resources in Massachusetts including the Pine Barrens ecosystem

and its species and the region’s sole source aquifer.” [Id.]. STPB’s efforts were initially directed

toward “preventing Makepeace from continuing to obtain permits, or continuing to operate

pursuant to permits whose terms had long expired, to deforest a significant part of the rare

Atlantic Coastal Pine Barrens in order to install several ground mounted industrial solar projects

(after mining the sand as ‘site preparation’).” [Id.].




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                       3.      September 28, 2021 Carver ZBA Hearing 3

       On September 28, 2021, Kane was present at a Carver ZBA hearing where Sheehan was

arguing on appeal that Makepeace had violated the town’s zoning bylaws. [Compl. ¶ 37].

Specifically, Sheehan was arguing that, because certain Makepeace permits were granted for

earth removal ancillary to agricultural use, Makepeace was in violation of those permits by virtue

of conducting solely commercial sand and gravel mining operations at the site. [Id.]. At the end

of the hearing, ZBA Chair Gray asked Kane, who had not signed in as a witness and did not

come to the table to speak or identify himself as required of witnesses, whether he would sit

down with Sheehan’s clients and negotiate. [Id.]. Kane responded that negotiations required

both parties to participate in good faith and that while he would do so, he could not promise that

the other side would. [Id.].




3
  The Court begins its chronology of relevant facts with this September 28, 2021 meeting,
despite the fact that Plaintiff pleads additional facts from “in or about the Spring of 2021,”
particularly involving incidents with the Makepeace Defendants. [Compl. ¶¶ 34–36]. This is
because the Makepeace Defendants have raised a statute of limitations defense to those
allegations, as they contend the causes of action against them carry three-year statutes of
limitations and that these allegations are therefore time-barred because the Complaint was filed
September 12, 2024. [ECF No. 34 at 11–12]. Plaintiff counters that the continuing violation
doctrine applies to her claims, although she concedes that “whether the continuing violation
doctrine applies in civil rights cases” is a “currently unanswered legal question.” [ECF No. 37 at
8–12]. Given the limited briefing on the issue, the legal uncertainty regarding the civil rights
claims, and the factual nature of the dispute, the Court declines to decide the statute of
limitations issue regarding Plaintiff’s civil rights claims at this time. That said, given that the
viability of these allegations would not change this Court’s disposition, out of an abundance of
caution, the Court will not consider allegations that pre-date September 12, 2021 in deciding the
civil rights claims. The parties may re-raise these issues at summary judgment on a more
complete factual record.

The Court will address the statute of limitations and the applicability of the continuing violation
doctrine in analyzing the state law torts supra where relevant to the disposition of those counts.
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        Without being asked, and “with the express purpose of contradicting Sheehan and

portraying her as a liar,” Kane then “volunteered information that was false in the context in

which [it was] offered.” [Compl. ¶ 37]. Specifically, Kane contended that Sheehan’s

engineering expert had recently been allowed a site visit to the Makepeace sites at issue, that the

visit was conducted by the Carver Earth Removal Committee (“ERC”) joined by the expert, and

that Makepeace was found to be in compliance with the relevant permits, apparently without

objection by Sheehan’s expert. [Id. ¶ 38]. In reality, while there had been an ERC site visit with

Sheehan’s expert present, the purpose of the visit was to determine “only whether [Makepeace’s]

mining was being conducted in compliance with the ERC’s earth removal general bylaw for

mining operations.” [Id.]. The ERC reached no conclusion as to the issue on appeal to the

Carver ZBA that day—namely, whether the land was being used primarily for commercial

mining versus agriculture in violation of the zoning law—because “that is not what they were

there to do.” [Id.].

        Sheehan contends this was the first occasion on which Sheehan heard Kane “falsely

accuse her of being liar, without actually using the word,” and she was demoralized that he had

made her out to be a liar in front of the Carver ZBA, particularly when everything she had said

was true. [Compl. ¶¶ 39–40]. Additionally, the Carver ZBA was important to her work, and it

was essential that she have credibility with them, which she felt had been tarnished by Kane’s

comments. [Id. ¶ 40].

                        4.    2022 Incidents

        For the balance of 2021 and into 2022, Sheehan and her allies continued to have various

run ins with Defendants. [Compl. ¶¶ 41–42]. For instance, in the summer of 2022, Sheehan,

STPB, and several Carver residents were working with a film journalist to video document the

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deforestation and mining on Carver cranberry bog properties. [Id. ¶ 42]. One day, two

individuals visited the film journalist, identifying themselves as federal agents from the United

States Department of the Interior (“DOI”). [Id.]. They claimed that they were going to charge

the film journalist with violating federal law protecting bald eagles, purportedly because the

journalist had posted a picture of the bird. [Id.]. In response, the journalist inquired, “this is

about Jim Kane and Makepeace, isn’t it?” [Id.]. The agents ended the interview, departed, and

were not further heard from. [Id.].

       At some point in 2022, Sheehan attended a public meeting at Carver Town Hall in the

context of her efforts on behalf of STPB to challenge numerous mining operations in Carver.

[Compl. ¶ 43]. These operations included the expansion of the newly labeled Spring Street

Innovation District, a project which SLT contended would involve sand removal to construct

warehouses and commercial buildings. [Id.]. Germain, who at the time was a member of the

Carver Conservation Commission which bore responsibility for wetland permits, accosted

Sheehan in the hallway and, in the presence of others, threatened “in a menacing and loud voice”

that he “wouldn’t stop until he got rid of her.” [Id.]. The interaction caused Sheehan to become

afraid for her well-being and even for her life, as she considered it a threat of violence,

particularly given Germain’s reputation as a vocal Second Amendment proponent and his

reputation for volatility and bullying behavior. [Id. ¶¶ 43–44]. She also felt that she already

knew from past experience that the Carver Police would not take any action even if she reported

the incident, particularly given that Germain held and continues to hold positions of considerable

influence in the town. [Id. ¶¶ 43–44]. Nonetheless, some residents did request an investigation

of Germain’s behavior toward Sheehan, and an investigation was purportedly completed,

although no results were ever made known. [Id. ¶ 45].

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                       5.     January 4, 2023 Plymouth ZBA Hearing

        On January 4, 2023, Sheehan appeared before the Plymouth ZBA on behalf of STPB to

appeal an earlier denial by the Building Commission of an enforcement request against a sand

mine in a residential neighborhood. [Compl. ¶ 52]. Specifically, the mining company had

obtained a mining permit based on the representation that the site would be developed as a

residential subdivision, creating additional housing to address an existing housing shortage, but

no homes had ever been built. [Id.]. Instead, the only activity on the site had been aggressive

sand mining, which an STPB investigation concluded had removed seventy times more sand and

gravel than any permit allowed. [Id.].

        Conflict erupted at the hearing between Sheehan and the Chair of the Plymouth ZBA,

Defendant Michael Main. [Compl. ¶¶ 53–57]. Main addressed Sheehan, stating:

        Every time you pull one of these stunts! I’ve been here for 18 years, and I have seen five
        of these from you and they have all been denied, all gone away, but all still cost this
        Town a ton of money. And now we’re talking about millions and millions of dollars on
        your frivolous lawsuits. I’ve had it. This one’s not going any further.

[Id. ¶ 54]. The statement that Sheehan was costing the town “millions and millions of dollars on

[her] frivolous lawsuits” was false, with Sheehan estimating that the town’s legal fees would be

measured in thousands rather than millions. [Id. ¶¶ 57–58]. Further, Sheehan was “stunned and

upset by Main’s untruthful statements, [as well as] distressed that the untruths were intended to

turn taxpayers against her personally and to drive her practice away.” [Id. ¶ 58].

        Following his remark, Sheehan asked whether Main was denying her clients a public

hearing. [Compl. ¶ 55]. Main responded: “I’m not denying you to have this hearing. I’m telling

you that you cannot stand here and lie to us. And that’s what that is. And I will not put up with

it. Period.” [Id.].



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       Sheehan then attempted to proceed, but Main repeatedly cut her off, causing the Vice

Chair of the Plymouth ZBA, David B. Peck, to intervene, stating, “Can I say, Mr. Chairman, I

want to hear the full presentation.” [Compl. ¶ 56]. Peck noted that, while the Plymouth ZBA

members may have questions and concerns, he wanted to complete the public hearing portion,

stating, “I want to listen to what the applicant has to say.” [Id.]. Sheehan was then permitted to

proceed, but, when she tried to further explain the extent of the excavation, Main repeatedly cut

her off, including to ridicule her calculation method, which applied generally accepted U.S.

Genealogical Survey data. [Id.]. Main also imposed his own unilateral rule that no evidence

could be considered other than a stamped professional engineering report, while simultaneously

refusing Sheehan’s request to have the town’s engineer check the site. [Id.].

       The public comments that followed this exchange were entirely in favor of Sheehan and

the need to respect her as an attorney presenting a case. [Compl. ¶¶ 56–57].

       Sheehan, who normally brushed aside disrespectful treatment at hearings, was so

offended by the conduct that she took the time to write a letter objecting to Chair Main’s

behavior to Defendant Betty Cavacco, the Chair of the Plymouth Select Board, who had the

power to remove Plymouth ZBA members. [Compl. ¶ 59]. Cavacco never responded. [Id.].

       When Main’s reappointment eventually came before the Plymouth Select Board,

someone present raised a question about Main’s treatment of Sheehan. [Compl. ¶ 59]. Main

apologized to the public, but he also said something to the effect of “I’m not apologizing to her.”

[Id. (emphasis in original)]. The Board voted unanimously to reappoint him. [Id.].




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                      6.      Creation of “Meg Cost Us Millions”

        A few days after the January 4, 2023 Plymouth ZBA hearing, the anonymous “Meg Cost

Us Millions” Facebook page appeared, with the name apparently derived from Main’s false

pronouncement four days earlier that Sheehan was costing the town “millions and millions of

dollars on [her] frivolous lawsuits.” [Compl. ¶ 60]. Shortly thereafter, the page was updated

with a new profile picture showing a thermometer-style gauge with the “mercury” approaching

the $2.5 million level, entitled “The Meg Sheehan Wasted Taxpayer Money Chart,” with a

partially obscured picture behind it of Sheehan with hundred-dollar bills fanning out in each

hand. [Id. ¶ 62].

        On January 16, 2023, an anonymous YouTube channel of the same name was created,

and it posted a video of the hearing, captioned, “Meg gets scolded at the 1/4/2023 ZBA

meeting.” [Compl. ¶ 61]. This video was broadly disseminated. [Id. ¶ 63]. The YouTube

channel has continued to post videos mocking Sheehan since, most recently on May 17, 2024.

[Id. ¶ 61].

        Whoever created the Meg Millions Page was aware of Main’s comments at the January 4

hearing, given that the page linked to the YouTube video of the hearing and included a photo of

the hearing room with the title “[s]ounds like Mr. Chairman of the Plymouth ZBA has had

enough of Meg Sheehan wasting millions of tax-payer money on ‘frivolous’ lawsuits.” [Compl.

¶ 63]. At or around the same time, the MMP posted a clown photo of Sheehan, announcing a

partnership with an X (formerly Twitter) account called “Exposing Meg Sheehan.” [Id. ¶ 64].

Thereafter, most, if not all, of the MMP posts were posted on X. [Id.].

        At that point, MMP “began a steady drum beat of demeaning, ridiculing, harassing, and

libeling Sheehan that was to continue incessantly for weeks that turned into months and months

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that turned into years, continuing to this day.” [Compl. ¶ 65]. From the outset, MMP has been

anonymous, but its anonymous authors have “enlisted or empowered those within his, her, or

their sphere(s) of influence.” [Id. ¶ 66]. These people include Cavacco, Germain, and

Opachinksi, all of whom have repeatedly reposted comments from, or directly commented on,

the Meg Millions Page, contributing to the broad dissemination of that content. [Id.].

       On January 28, 2023, MMP decided to expand the narrative by blaming Sheehan for

supposedly bringing a 40B project to Plymouth, claiming that “Claremont was going to donate

$$ millions towards a much-needed booster pump but low-IQ Meg Sheehan muddied the

waters . . . . So now Claremont said f- it and they’re just going around the town with a 40B.

THANKS MEG, you literally cost us millions.” [Compl. ¶ 67]. Opachinski commented on the

post, stating, “[m]ay as well add Plympton to her list. Looks like we will have to go the 40B

route to get anything through in that town.” [Id.]. Cavacco also reposted a “slightly sanitized”

version of the MMP post that same day on the Plymouth Voters and Friends Page. [Id.].

       On January 30, 2023, the MMP Facebook and X accounts both posted an image

containing text that said: “Meg Sheehan is what happens when you have too much unearned

money, unchecked narcissism and a desperate thirst for relevance. She truly is an

unaccomplished bozo.” [Compl. ¶ 70]. The post (for no apparent reason) attributed the language

to Myles Standish, a founder of the 1620 Plymouth Colony. [Id.].

       The reference in the January 30, 2024 post to Sheehan having “too much unearned

money” became one of MMP’s frequent themes—“i.e., Sheehan, the hypocrite”—and was

premised on two false factual assumptions: 1) that Sheehan has the ability to control Kingston-

based L. Knife & Son (“L. Knife”), an Anheuser-Busch wholesale distributor founded by

Sheehan’s great grandfather and still run by her father, and 2) that L. Knife is a sand and gravel

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mining company similar to SLT that has similarly violated local permits and ordinances.

[Compl. ¶¶ 71, 73, 91]. In reality, L. Knife is not a sand and gravel mining company and has no

known violations of zoning bylaws, general bylaws, or state restrictions similar to those Sheehan

has challenged in the sand mining industry, and, although she has served as one of its advisory

directors at times, Sheehan, in fact, has no control over L. Knife (or any Sheehan family

company). [Id. ¶¶ 71, 73, 85, 91]. Sheehan’s father is the sole voting stockholder of L. Knife.

[Id. ¶ 71]. 4 Posters to MMP would have had knowledge of this ownership structure and

Sheehan’s lack of voting power by virtue of a public lawsuit brought by three of Sheehan’s

brothers and others trying to seize voting control from their father, given that MMP published a

link to the complaint in that suit, which laid out the control and structure of L. Knife. [Id. ¶ 72].

Despite this knowledge, MMP “beat the hypocrisy drum incessantly, month after month,” “not

because MMP believed its own accusations to be true, but because MMP’s intent was to destroy

Sheehan’s credibility and her legal career in Southeastern Massachusetts.” [Id. ¶¶ 73–74].

Germain, Opachinksi, and Cavacco often amplified the untruthful statements. [Id. ¶ 74].

                       7.      February 15, 2023 Incident

       On February 15, 2023, Sheehan was standing alone in the public buffer zone abutting

Federal Road in Carver next to her car taking notes, attempting to keep a record of the haul

trucks traveling from the neighboring site occupied by Read (Makepeace’s subsidiary). [Compl.

¶ 75]. At Kane’s direction, or at least with his knowledge and consent, two black SUVs pulled




4
  Sheehan’s only purported interests in L. Knife are 1) that she and her seven siblings are
beneficiaries of trusts that provide each of them with fractional interests in the proceeds of a
future disposition of the assets of the family companies, and 2) that her father generally gave
each of them, in his sole discretion, an annual stipend unrelated to company decisions or control.
[Compl. ¶ 71].
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up, occupied by Makepeace security personnel who proceeded to videotape Sheehan without her

permission at fairly close range. [Id.]. When they attempted to engage her, she became

concerned for her safety, got into her car, and reported the event to the Carver Police

Department. [Id.]. Nothing was done in response. [Id.].

                       8.      March 23, 2023 Office of the Inspector General Investigation

       On March 23, 2023, investigators from the Massachusetts Office of the Inspector General

(“OIG”) appeared at the Carver Town Hall to investigate the ERC and other town offices and to

interview witnesses. [Compl. ¶ 76]. They were specifically looking into the sand and gravel

mining that Sheehan had been advocating against on behalf of her clients. [Id.]. Around that

time, Germain, who was the Carver Finance Committee Chair and the Vice Chair of the

Conservation Committee (was well as a sand hauler for SLT), posted on social media that he had

received a “letter” from the OIG and stated that some of “us” were “visited” by the OIG. [Id.].

       A good percentage, if not all, of the sand mining participants and town officials who had

granted the permits under review by the OIG blamed Sheehan for the unwelcome investigation.

[Compl. ¶ 77]. For instance, at a meeting of the ERC at Carver Town Hall on around March 29,

2023, Sheehan was “confronted by, derided, and ridiculed by several individuals, some of whom

were known to her to be involved in the sand mining operations, and the rest of whom were

clearly their allies.” [Id.]. “They jeered her for thinking that her efforts might succeed[] and

proclaimed to her and to each other that the on-going investigation would go nowhere.” [Id.].

She perceived their conduct as intended to humiliate and intimidate her so that she would

withdraw as an attorney for residents who opposed their industry. [Id.].

       Similar comments and conduct continued at other municipal board and committee public

hearings and meetings, during which Sheehan felt threatened and at risk. [Compl. ¶ 78]. On

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none of these occasions did a single Carver town official intervene on her behalf, and some

officials participated in the verbal assaults on her. [Id.]. Of note, at an April 2023 Carver Town

Meeting, Germain shouted at Sheehan, this time “so egregiously and outrageously that it resulted

in multiple police reports being filed against him by some of the local residents whom Sheehan

was assisting in their efforts to stop the sand mining.” [Id. ¶ 80]. The Carver Police Department

did nothing in response. [Id.]. “Sheehan could not file a complaint against Germain herself

because she feared that Germain, [as] a prominent town official, would concoct ways to punish

her clients for her actions,” and she found that risk unacceptable. [Id.].

                           9.      MMP 2023 Online Campaign

        Throughout the spring of 2023, MMP continued to repeat that Sheehan was a hypocrite

because of her family business and that she was a perpetual loser, all of which had a great impact

on Sheehan’s emotional wellbeing. [Compl. ¶ 86].

                                i. Spring 2023

        On April 15, 2023, MMP’s online posts took a particularly nasty turn, labeling Sheehan

“a vile old attention seeking carpetbagger” and a “vampire,” while demeaning her allies as

“mutants” purportedly paid by Sheehan (which they were not). [Compl. ¶ 81]. Germain and

Opachinski joined in, amplifying MMP’s post and labeling Sheehan and her clients “eco-

terrorists.” [Id. ¶ 82].

        That same day, MMP also posted a photograph of a sign attached to a utility pole, which

proclaimed in large letters, “Meg loses, again!!!” [Compl. ¶ 83]. Among the comments on this

post were two from Germain, including one where he (seemingly unprompted) denied any

knowledge of who runs MMP and boasted that “[Sheehan] should know better than to think I

would hide from her.” [Id.]. “Opachinski responded with support for Germain and criticism of

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the mining opponents.” [Id.]. Of note, another commenter named “Rebecca Newhouse”

emerged, proclaiming, “I’ve watched this witch waste Carver’s money time and resources for

years. Glad she’s facing the music finally.” [Id.]. There is no public record, including on voter

and street lists, of any resident in Carver by the name of “Rebecca Newhouse.” [Id.]. Rather,

the name is a digital impersonator created by someone advocating on behalf of the sand mining

and hauling industry. [Id.].

       Sheehan observed that the signs photographed for the MMP post were principally

clustered near the entrance to Route 44 on Spring Street, where SLT was excavating an

enormous sand mine and leveling one of the tallest hills in town—a project which Sheehan was

helping certain clients oppose. [Compl. ¶ 84]. Because of this, Sheehan came to believe that the

signs were posted by someone connected to SLT and were intended to suggest to the general

public both that she was “loser” in the colloquial sense and that she was a “loser” in terms of her

career as an environmental lawyer. [Id.]. Sheehan called the Carver Police Department to report

the signs, and an officer returned her call, stating that she could come to the station to file a

report if she wished but that the department would not take the signs down. [Id.].

       Again on April 15, 2023, MMP “returned to its theme of accusing Sheehan of hypocrisy

based on actions of L. Knife that MMP knew full well Sheehan could not control.” [Compl.

¶ 85]. Among the posts on MMP that day was a comment from Germain, who claimed that L.

Knife was “destroying the value of a residential neighborhood with non-stop trucking day and

night.” [Id.]. Jason Martin, SLT’s General Manager and Health and Safety Officer, joined

Germain’s post and reposted it. [Id.]. Martin then posted, and Germain reposted, photos of SLT

trucks and equipment at L. Knife’s Kingston location and announced, “[t]he Hyporisy is

astounding!!!” [Id.]. Germain weighed in with a further comment, stating: “This is how you

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spell hypocrite. Her ‘followers’ are to [sic] uninformed to understanding. They are the ones

being used.” [Id.]. Another unknown commenter responded, “wow… all I can say… WOW.

First time on this page, what an eye opener . . . .” [Id.].

       On April 24, 2023, MMP extended its reach to a Wareham town Facebook page,

“Matters of Wareham,” with a post warning residents to be “watchful” for Sheehan and her

supporters who “do not live in Wareham and [] inten[d] to disrupt [Wareham’s] town meeting.”

[Compl. ¶ 87]. MMP’s intent was to disseminate their disparagement of Sheehan to a broader

audience. [Id.].

       On April 28, 2023, MMP posted a letter Cavacco had written to the Southeastern

Massachusetts Pine Barrens Alliance, Inc. (“SEMPBA”), which falsely accused SEMPBA of

subletting space in its Plymouth office to Sheehan without town approval and threatened not to

renew SEMPBA’s lease with the town. [Compl. ¶ 88]. Sheehan was not copied on the letter.

[Id.]. When MMP posted the letter, SEMPBA had not yet received it, “indicating that Cavacco

sent it to MMP or an ally of MMP at the same time or before she sent it to [] SEMPBA.” [Id.].

MMP further embellished the letter, claiming that Sheehan had established an unwritten

subtenancy with SEMPBA for the purpose of gaining standing to sue in Plymouth (despite the

fact that standing relates to the domicile of the litigant, not the attorney). [Id. ¶ 89]. Germain

and Opachinski commented, with Opachinski in particular stating, “[h]opefully Plymouth

pursues any legal remedies they have regarding the ‘fake standing.’” [Id.]. Three days later,

MMP posted a detailed purported legal analysis related to the Cavacco letter, which was legally

incorrect as to each of its premises. [Id.]. Once again, supportive comments followed from

Germain and Opachinski. [Id.].




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       The incorrect assertions of law contained in the April MMP analysis of the Cavacco letter

became another common theme of MMP’s posts, followed by frequent supportive comments by

Germain and Opachinski. [Compl. ¶ 90]. For instance, on May 6, 2023, MMP posted

information about the dismissal of a lawsuit on standing grounds, which also insulted Sheehan

by referring to her as an “attention seeking hag” and a “[b]ogus activist” and by accusing her of

engaging in “a pathetic attempt to validate her unremarkable life.” [Id.]. Germain weighed in

asserting that Sheehan “hasn’t won a case yet,” that “[h]er claims are lies,” and that “[s]he thinks

she knows about all the millions of dollars sand mining brings in, she knows nothing.” [Id.].

       Throughout the month of May, MMP, Germain, and Opachinski also doubled down on

the hypocrisy theme regarding L. Knife, including introducing new nicknames for Sheehan,

including “Meg ‘beer cashier’ Sheehan” and “Meg the ‘Natural Disaster.’” [Compl. ¶¶ 91–92].

In one example, MMP trumpeted the purchase and sale agreement for Sheehan’s great-

grandfather’s warehouse site by falsely claiming that “Meg ‘Beer Cashier’ Sheehan sold one of

the last remaining swaths of untouched forest in Plymouth to Pulte Homes.” [Id. ¶ 92]. Germain

commented, mocking Sheehan with the statement “rules for thee, not for me.” [Id.]. He further

responded to another commenter, “[h]er family sells property for millions then she goes in and

tries to stop development, after the check is cashed of course!” [Id.]. Around the same time,

Opachinski drew attention on MMP to truck traffic around the L. Knife commercial site stating,

“[y]et she’s up in arms over the trucks on Meadow St. to the Maki property because of the ‘poor

neighbors’ and the noise?” [Id. ¶ 93]. MMP also posted two photoshopped photos of Sheehan,

one with her “about to take a swig from a bottle of Budweiser” and the other with her “head

imposed on a man’s body pushing a dolly transporting carts of beer.” [Id.].




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          MMP’s May 2023 posts also began to be premised on the false allegation that Sheehan

was running a business from, as well as renting out as a multi-family home, a property belonging

to an LLC that she owned in New Hampshire, neither of which was true. [Compl. ¶ 95]. “The

thrust of the claim seemed to be that[] if Sheehan could violate zoning bylaws, so could miners

and haulers.” [Id.]. Graphics attached to one post showed Sheehan clutching paper money, set

afire, in each fist. [Id.]. Opachinski left a comment asking, “where does Meg actually live and

pay her taxes?” and Germain quipped “[o]nly her rules apply.” [Id.]. When a commenter

questioned the validity of the source, Germain chimed in to defend MMP, claiming that the

“poster has yet to be incorrect.” [Id. ¶ 96]. For its part, MMP responded:

          Anyone who has a problem with these posts or our page simply has not been paying
          attention. Watch Meg’s appearances at town boards. They’re on youtube. Go read her
          twitter page. It’s filled with insane and unsubstantiated attacks on good businesses.
          SHE’S TRYING TO PUT GOOD PEOPLE OUT OF BUSINESS. Wake the f up. She is
          beneath civility.

[Id.].

          Cavacco reposted the falsehoods regarding the New Hampshire property on her site

“Plymouth Rant,” and she was also a guest on a local radio station called “Talk of the Town,”

where she spoke disparagingly of Sheehan’s purported motivation for her advocacy. [Compl.

¶ 97]. Sheehan texted Cavacco a few days later, demanding that the harassment stop, but

Cavacco refused to admit her conduct or acknowledge responsibility for it. [Id.].

          On May 22, 2023, MMP posted a mock-up of the front page of a nonexistent newspaper

called “NEWS The Most Important News from around the World,” with a lead story titled “Two

More Losses” under the bolded heading “MEG LOSES AGAIN.” [Compl. ¶ 98]. That story

attributed two losses to Sheehan: 1) the defeat of a particular candidate for the Select Board and




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2) the voting down of a new Town Charter. [Id.]. A national political pundit is also quoted as

saying “[s]he has the reverse Midas touch.” [Id.].

       The fake newspaper was “followed three days later by an adaptation of the title and book

cover from a childhood classic, ‘Meg Sheehan and the Terrible, Horrible, No Good, Very Bad

Week,’” accompanied by a photo-shopped picture of Sheehan metamorphosed into a scowling

face. [Compl. ¶ 99]. The “terrible events” list again included defeat of a new town charter and

the election loss of a Select Board candidate as well as a Supreme Court decision curtailing the

Environmental Protection Agency’s powers, all presented as losses for Sheehan. [Id.].

                           ii. Summer and Fall 2023

       In July 2023, MMP posted an article regarding the marketing of an undeveloped parcel

by a Sheehan family company, falsely attributing the marketing to Sheehan, who had strongly

opposed it. [Compl. ¶ 102]. The language of the post was “even more strident and hyperbolic

than usual . . . [and] also more sophisticated.” [Id.]. Additionally, the post included

“information that, while retrievable elsewhere with effort, appeared to come from inside

Sheehan’s family, once again exacerbating her concerns” about her privacy. [Id.]. Germain

submitted several comments on the post and also forwarded the post for reposting to two town

pages, All Things Plymouth and Fair and Open Government for Carver, and “Rebecca

Newhouse” forwarded it to Cavacco’s page Plymouth Rant and to Fair and Open Government

for Carver. [Id. ¶ 103]. A new digital impersonator, John E. Walker (an apparent play on the

liquor brand Johnnie Walker), also joined the dialogue, commenting “Shocker” in response to

the post. [Id.]. Opachinski additionally commented, describing Sheehan as a “lying, vile old

hag.” [Id.].




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       On July 21, 2023, MMP introduced an email address—megcostusmillions@proton.me—

and invited current or former employees of L. Knife to contact the email in an apparent attempt

to gather “dirt” to use against Sheehan. [Compl. ¶ 104]. Germain reposted the MMP post on All

Things Plymouth. [Id.]. If anyone responded, the responses were not made public. [Id.].

       A few days later, MMP posted again, this time regarding a superior court denial of a

motion for a preliminary injunction to shut down a sand mining operation. [Compl. ¶ 105].

MMP wrote that, if the poster were one of Sheehan’s clients, they would “be asking for [their]

money back,” falsely implying that Sheehan charged for her services (which were in fact

rendered pro bono). [Id.]. The post, which misrepresented the court’s preliminary injunction

denial by claiming it dismissed the case (which, it did not), also stated that “[i]t is baffling how

Meg hasn’t been disciplined by the BBO yet for gross misconduct and intentional

misrepresentation. Insane.” [Id.].

       Similar posts continued through late summer and early fall 2023, with MMP, Opachinski,

Germain, and Cavacco attacking Sheehan’s family for both donating and failing to donate land, 5

as well as continuing to claim that “[a]ll she does is lose in court” and to refer to her as a “vile

hag.” [Compl. ¶¶ 106–07]. In September, Sheehan posted on her STPB page referring to her

attackers as “the sand mining thugs.” [Id. ¶ 108]. MMP responded that “[o]nly someone as

narcissistic and stupid as Meg Sheehan could post something so dumb. In her mind it’s OK to

file dozens of frivolous lawsuits . . . It would be funny if she wasn’t wasting so many public

resources.” [Id.]. Germain then responded calling Sheehan a “hypocrite” and claiming that “she

and her group are still batting zero, but the taxpayer burdens the cost of this nonsense.” [Id.].



5
 Cavacco made further comments regarding Sheehan and her family during the course of an
undated public meeting, which Germain later posted online. [Compl. ¶ 107].
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                        10.      October 2023 Community Land and Water Coalition Report

        In October 2023, the Community Land and Water Coalition (“CLWC”) produced a report

entitled Sand Wars in Cranberry Country: An investigation into the money, politics and

corruption behind sand mining and its silent environmental crisis in Southeastern Massachusetts

(the “CLWC Report”). [Compl. ¶ 109]. With regard to the towns and their officials, the CLWC

Report concluded that the “‘fox guarding the hen house’ describes the municipal regulation of

sand and gravel mining.” [Id.]. The CLWC Report further intensified the already high tensions

between the mining community and the concerned residents, and Sheehan, who represented

CLWC, bore the brunt of many attacks. [Id.]. “At her wits’ end,” Sheehan started attempting to

identify the people responsible for MMP, hiring a highly regarded cyber investigator to look into

it, but to no avail. [Id. ¶ 110].

                        11.      December 7, 2023 CPC Meeting

        On approximately December 7, 2023, a grant application from Makepeace to the

Community Preservation Committee (“CPC”), which asked taxpayers to defray at a cost of

$4,000,000 its developer costs for 40B units at “Cranberry Commons at Redbrook,” came up for

a vote. [Compl. ¶¶ 111, 257]. 6 Cavacco, who had been newly appointed to the CPC in June

2023, voted in favor. [Id. ¶¶ 100, 257]. 7 Sheehan attended the meeting to voice opposition. [Id.

¶ 111]. When Sheehan attempted to speak at the meeting, Cavacco prevented her from doing so.




6
  The Complaint makes references to meetings on two different dates at which the grant was
allegedly approved. [Compl. ¶ 111 (approval of Makepeace application at December 7, 2023
meeting); ¶ 257 (referring to a December 2023 application by Makepeace and a January 2024
meeting)].
7
 The application had been in process, or under consideration by Kane and Makepeace, at or
before the time Cavacco had submitted her application to join the CPC. [Compl. ¶ 257].
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[Id.]. The grant was ultimately approved at Cavacco’s urging, without the benefit of hearing the

opposing comments that Sheehan had attempted to provide. [Id. ¶¶ 111, 216]. An additional

$1,000,000 grant of public funds was also approved for Makepeace to purchase a cranberry bog

with little to no economic value to the company, with Cavacco being one of the four votes in

favor. [Id. ¶¶ 216, 257]. One of the votes opposed came from the Chair of the CPC, Bill

Keohan, who raised concerns about awarding public money for the project because Makepeace

had yet to fulfill a prior commitment to build affordable housing units. [Id.].

       Several months later, the Select Board voted to remove Chair Keohan from the CPC,

which he had chaired since its inception in 2002. [Compl. ¶ 258]. Although the Select Board

indicated that it made the decision because off Keohan’s insufficient attention to affordable

housing, specific note was made in the local press, “if not at the Select Board meeting,” of

Keohan’s negative vote on the Makepeace application. [Id.].

                       12.    MMP 2024 Online Campaign

       On January 14, 2024, MMP posted a copy of an email allegedly sent by Sheehan with the

recipient’s name redacted. [Compl. ¶ 113]. The email stated that Sheehan was “looking for

people to join the Plymouth ten resident group lawsuit” and offered the recipient $1,000 to join.

[Id.]. Germain commented on the post, “[i]f this is substantiated, it shows how desperate she is.

Much to our surprise, unethical.” [Id. ¶ 114]. He then reposted it to the Fair and Open

Government for Carver page with the comment, “[i]f there is any proof of this, it show[s] [sic]

the unethical tactics of our beloved Meg!” [Id.]. The next day, Germain reposted it on All

Things Plymouth, stating, “[i]f there is any truth to this it goes to her questioned ethics. Anyone

else contacted in Plymouth?” [Id.]. If any responses were received, they were not posted. [Id.].




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          For her part, Cavacco received a copy of the post from “Rebecca Newhouse,” along with

a comment that Sheehan was “truly heinous,” and Cavacco then reposted the fake email and

comment on her own Plymouth Rant page. [Compl. ¶ 115]. Cavacco did not mention that the

email could be fake. [Id.].

          In reality, Sheehan did not write or send the email; rather, it was a “fraudulent mock-up

intended to create the impression that she had violated the ethical rules applicable to

Massachusetts attorneys[] and potentially to raise the specter that she had committed bribery.”

[Compl. ¶ 113].

          On February 13, 2024, MMP encouraged viewers to “have some fun” at Sheehan’s

expense by way of MMP’s “Meg’s Bingo Card.” [Compl. ¶ 116]. The chart included an

unflattering photo of Sheehan in the middle “free square” space, along with “case-related words

with demeaning qualifiers,” “stereotyp[es],” and “falsehoods” in the other squares. [Id.].

          “On May 22, 2024, MMP purported to recap events surrounding an incident in which

Sheehan voluntarily disclosed to the court that her engineering expert’s license had been

temporarily suspended” because of a failure to file mandatory forms or paperwork. [Compl.

¶ 117]. MMP accused Sheehan of “lying” and encouraged complaints to the Board of Bar

Overseers. [Id.]. Germain and Martin commented on the post, with Martin in particular

claiming that Sheehan should be “disbarred” for “lying cheating and misrepresenting the truth at

every turn.” [Id.]. In reality, Sheehan was unaware of the suspension when she retained the

expert, and the suspension was not in effect when he performed engineering services for her.

[Id.].




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                       13.    May 29, 2024 Carver ZBA Meeting

       On May 29, 2024, the Carver ZBA held a hearing on the STPB’s appeal of a denial of an

enforcement request against Read. [Compl. ¶ 119]. STPB’s contention was that Read was

operating an unpermitted trucking and freight terminal to process, store, and transship

Makepeace’s sand and gravel. [Id.]. When it was Sheehan’s turn to speak, Gray (who at that

time was Chair of the Carver ZBA), a lawyer himself, “stopped her almost immediately to raise

what he called the ‘procedural issue’ of ‘collateral estoppel.’” [Id.]. His position was that the

petitioners were barred from moving forward because the issue could have been raised in 2021,

when STPB initially challenged the failure of the Building Inspector to enforce earth removal

regulations. [Id.].

       A different member of the Carver ZB asked to obtain a legal opinion from the town’s

attorney on Gray’s point, but Gray abruptly cut her off, telling her that her question was

“premature.” [Compl. ¶ 120]. He then prevented Sheehan from proceeding with her

presentation on the substantive issue. [Id.]. His position was legally incorrect, and his treatment

of Sheehan was visibly condescending. [Id.].

       A few days after the hearing, Mary Dormer, a resident and volunteer who was present

and spoke briefly, sent a follow up letter to the Carver ZBA. [Compl. ¶ 121]. It stated, among

other things, that Dormer was “appalled at the disrespect that [Sheehan] is subject to when she

speaks at these meetings,” calling out Gray in particular and stating that his “contempt towards

Ms. Sheehan is palpable, juvenile and a behavior that one would not expect from a member of

the Bar.” [Id.].

       On July 17, 2024, which was the second day of the public hearing on the same appeal,

Gray again presided and read aloud from an email that he said he had received from a Carver

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resident named “Tim Westover,” sent from timwestover@proton.me on July 14, 2024 with the

subject line: “Public Comment for Carver ZBA Meeting – 7.7.20[2]4.” [Compl. ¶ 123]. The

author, after proclaiming that “he had been watching ‘for the past three years,’ recited essentially

the same verbiage as appears on the [MMP], including the statement that, ‘[t]his woman has no

shame as she forces our town to spend huge sums of legal bills defending against her garbage.’”

[Id. ¶ 124]. Much like “Rebecca Newhouse,” the official Town of Carver listing of residents for

2022 and 2024 available from the Town Clerk reveals no person named “Tim Westover”

residing in Carver, and it appears to be a false profile. [Id. ¶ 125].

       Sheehan then requested that Gray read the Mary Dormer letter aloud, but he refused,

allowing only that Sheehan could attempt to “summarize” it quickly. [Compl. ¶ 125].

                       14.     Interactions with Makepeace’s Attorney

       Following the May 29, 2024 Carver ZBA meeting, Sheehan sat down with Makepeace’s

outside attorney to engage in a settlement conference that Gray had mandated. [Compl. ¶ 122].

“Instead of negotiating with her, the attorney demeaned Sheehan, telling her that she was a bad

lawyer[] and speaking to her as dismissively as he could.” [Id.]. For instance, he “informed her

that he—apparently in contrast to Sheehan—[had] actually read the cases and, beyond that, he

understood them, strongly implying that she did not.” [Id.]. He made it clear that he had no

interest in dealing with her and found it to be a waste of his time. [Id.].

       Since that interaction, Sheehan has dreaded having to deal with Makepeace’s outside

attorney and felt there was no recourse for his behavior. [Compl. ¶ 126]. The two interacted

again when the attorney was present at a scheduled Makepeace site visit on August 12, 2024.

[Id. ¶ 127]. When Sheehan arrived with her wetland expert for the site visit, the attorney

announced that she and her expert could not go onto the site. [Id.]. When Sheehan responded

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that she had her expert there, as did he, he retorted, “are you deaf or something? Didn’t I just say

you are not going beyond the boundaries[?]” [Id.]. Sheehan responded that she would not

permit him to interfere with their rights, which, pursuant to Department of Environmental

Protection regulations, include a right to investigate. [Id.]. Ultimately, Sheehan and her expert

investigated most of the site before the attorney barred them from proceeding into a certain area.

[Id.].

             B.      Procedural History

          Plaintiff filed her Complaint on September 12, 2024, alleging twenty-four counts against

Defendants including: violations of her First and Fourteenth Amendment rights pursuant to 42

U.S.C. § 1983 (Counts 2–4, 7, 12–14, 19–20); conspiracy to violate her First and Fourteenth

Amendment rights pursuant to 42 U.S.C. § 1985(3) (Counts 8, 21); defamation (Counts 5, 10,

15–16, 23); intentional infliction of emotional distress (or, “IIED”) (Counts 6, 11, 17–18, 24);

violations of the Massachusetts Civil Rights Act (or, “MCRA”) (Counts 9, 22); and violations of

her privacy rights pursuant to Mass. Gen. Laws ch. 214, § 2B (Count 25). [Compl. ¶¶ 133–305].

Plaintiff also brought one count for a subpoena, [id. ¶¶ 133–46 (Count 1)], and, a few days later,

she also filed an emergency motion for early discovery, [ECF No. 5], which the Court granted,

[ECF No. 26].

          The Municipal Defendants moved to dismiss Plaintiff’s Complaint pursuant to Federal

Rules of Civil Procedure 8 and 12(e) on October 18, 2024, [ECF No. 27], and Plaintiff opposed

on October 28, 2024, [ECF No. 29]. The Makepeace Defendants moved to dismiss pursuant to

Rule 12(b)(6) on November 13, 2024, [ECF No. 33], Plaintiff opposed on November 26, 2024,

[ECF No. 37], and the Makepeace Defendants filed a reply in support of their motion on

December 16, 2024, [ECF No. 45]. The SLT Defendants moved to dismiss pursuant to Rules 8

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   and 12(b)(6) on December 13, 2024, [ECF No. 43], Plaintiff opposed on December 20, 2024,

   [ECF No. 49], and the SLT Defendants filed a reply in support of their motion on January 27,

   2025, [ECF No. 65].

             The Court held a hearing on January 30, 2025, [ECF No. 66], at which it denied the

   Municipal Defendants’ motion to dismiss pursuant to Rules 8 and 12(e) and the SLT Defendants’

   motion to the extent it was premised on Rules 8 and 12(e), [ECF Nos. 66, 67]. The Court took

   the pending motions to dismiss under advisement to the extent they were premised on Rule

   12(b)(6), and it ordered the Municipal Defendants to file a motion on those grounds by February

   21, 2025. [Id.]. The Municipal Defendants timely filed their motion, [ECF No. 70], which

   Plaintiff opposed on March 7, 2025, [ECF No. 78], and the Municipal Defendants filed a reply in

   support of their motion on March 21, 2025, [ECF No. 91].

             The Court heard oral argument on the pending motions to dismiss on March 31, 2025.

   [ECF No. 93]. At the end of the hearing, the Court took the motions under advisement. [Id.].

II.          DISCUSSION

             All parties have now moved to dismiss for failure to state a claim pursuant to Rule

      12(b)(6). On such a motion, the Court must accept as true all well-pled facts, analyze them in

  the light most favorable to the plaintiffs, and draw all reasonable inferences from those facts in

  favor of the plaintiffs. U.S. ex rel. Hutcheson v. Blackstone Med., Inc., 647 F.3d 377, 383 (1st

   Cir. 2011). Additionally, “a court may not look beyond the facts alleged in the complaint,

   documents incorporated by reference therein and facts susceptible to judicial notice.” MIT Fed.

   Credit Union v. Cordisco, 470 F. Supp. 3d 81, 84 (D. Mass. 2020) (citing Haley v. City of Bos.,

   657 F.3d 39, 46 (1st Cir. 2011)). A complaint “must provide ‘a short and plain statement of the

   claim showing that the pleader is entitled to relief,’” Cardigan Mt. Sch. v. N.H. Ins. Co., 787

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F.3d 82, 84 (1st Cir. 2015) (quoting Fed. R. Civ. P. 8(a)(2)), and set forth “factual allegations,

either direct or inferential, respecting each material element necessary to sustain recovery under

some actionable legal theory,” Pitta v. Medeiros, 90 F.4th 11, 17 (1st Cir. 2024) (quoting

Gagliardi v. Sullivan, 513 F.3d 301, 305 (1st Cir. 2008)). Although detailed factual allegations

are not required, a complaint must set forth “more than labels and conclusions,” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007), and “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice,” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). Rather, a complaint “must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570).

            A.      42 U.S.C. § 1983 Claims Against the Municipal Defendants

        Sheehan brings two counts pursuant to § 1983 against the Municipal Defendants in their

official capacities, both predicated on alleged violations of her First and Fourteenth Amendment

rights, [Compl. ¶¶ 147–55 (Count 2); ¶¶ 210–21 (Count 12)]. 8 She also brings claims against the

individual Municipal Defendants—Germain and Gray from Carver, and Cavacco and Main from

Plymouth—in their individual capacities. [Compl. ¶¶ 156–59 (Count 3 against Germain);




8
  Because Counts 2 and 12 are brought against Gray, Germain, Main, and Cavacco in their
official capacities, these will be treated as claims against Carver and Plymouth. See Will v.
Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989) (“[A] suit against a state official in his or her
official capacity is not a suit against the official but rather is a suit against the official’s office.”);
see also Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 n.55 (1978) (stating that “local
government officials sued in their official capacities are ‘persons’ under § 1983” but also that
these suits “generally represent only another way of pleading an action against an entity of which
an officer is an agent”).
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¶¶ 160–64 (Count 4 against Gray); ¶¶ 222–25 (Count 13 against Cavacco); ¶¶ 226–228 (Count

14 against Main)]. 9

       Section 1983 provides a cause of action for anyone who has a constitutional right violated

by a person acting “under color of any statute, ordinance, regulation, custom, or usage, of any

State.” 42 U.S.C. § 1983. “As is well established, § 1983 creates no independent substantive

rights, but rather provides a cause of action by which individuals may seek money damages for

governmental violations of rights protected by federal law.” Kennedy v. Town of Billerica, 502

F. Supp. 2d 150, 157 (D. Mass. 2007), aff’d, 617 F.3d 520 (1st Cir. 2010). “Thus, ‘the first

inquiry in any § 1983 suit . . . is whether the plaintiff has been deprived of a right secured by the

Constitution and laws.’” Id. (quoting Baker v. McCollan, 443 U.S. 137, 140 (1979)). Plaintiff

has alleged violations of her First and Fourteenth Amendment rights, 10 and the Court will take

each in turn.

                       1.      Alleged Constitutional Violations

                            i. First Amendment

       The Municipal Defendants assert that Sheehan’s First Amendment claim fails because it

does not state a plausible claim for retaliation. [ECF No. 71 at 7–14]. Specifically, the



9
 Plaintiff also brings claims against the Municipal Defendants for conspiracy to violate her First
and Fourteenth Amendment rights alongside the SLT and Makepeace Defendants. [Compl. ¶¶
178–92 (Count 7); ¶¶ 254–84 (Counts 19 and 20)]. Because liability for the SLT and Makepeace
Defendants for alleged § 1983 violations hinges on this theory, it is addressed infra.
10
   The Complaint also makes references to violations of Plaintiff’s Fifth Amendment rights. See,
e.g., [Compl. ¶¶ 147–55 (Count 2); ¶¶ 210–21 (Count 12)]. This is because, as Plaintiff explains
in her opposition to the Municipal Defendant’s motion to dismiss, “traditional Fifth Amendment
rights of substantive due process are only available through the Fourteenth Amendment with
regard to municipalities.” [ECF No. 78 at 10 n.5]. Plaintiff concedes that the reference to the
Fifth Amendment is superfluous, [id.], and thus the Court’s due process analysis refers only to
Plaintiff’s Fourteenth Amendment rights.
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Municipal Defendants contend that the Complaint fails to allege that Plaintiff was engaged in

“constitutionally protected speech when she was advocating as an attorney on behalf of her

clients in front of quasi-judicial boards,” that she suffered an adverse action by virtue of the

alleged “criticism or even condemnation,” or that any alleged adverse action was more than “de

minimis” given that Plaintiff has been “undeterred in her pursuit of relief from” the Municipal

Defendants. [Id. at 11–14]. Sheehan responds that while “the Municipal Defendants have

included an argument that Sheehan has failed to state a First Amendment claim for retaliation . . .

Plaintiff has proffered no such claim.” [ECF No. 78 at 6 (citation omitted)]. Rather, Sheehan

argues that her allegations “readily meet th[e] standard” for “stating a § 1983 claim against a

municipality,” which “requires that [a] policy or custom be attributable to the municipality, and

that the policy or custom causes the deprivation of constitutional rights.” [Id. at 7].

        Plaintiff’s argument, which speaks to municipal liability under 42 U.S.C. § 1983, puts the

cart before the horse. Although it is true that § 1983 imposes “liability on a government that,

under color of some official policy, ‘causes’ an employee to violate another’s constitutional

rights,” Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691–92 (1978), “this theory of municipal

liability is viable only where a plaintiff establishes the existence of underlying, identifiable

constitutional violations,” Bannon v. Godin, 99 F.4th 63, 88 (1st Cir. 2024) (cleaned up); see

also Lachance v. Town of Charlton, 990 F.3d 14, 31 (1st Cir. 2021) (“Monell can impose

municipal liability only for underlying, identifiable constitutional violations . . . .”) (quoting

Kennedy v. Town of Billerica, 617 F.3d 520, 531 (1st Cir. 2010)). Thus, Plaintiff cannot hinge

her First Amendment claim on the towns’ alleged unconstitutional policies—she must also show

that the policies caused someone, acting pursuant to them, to violate her First Amendment rights.




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       To do so, Plaintiff must first demonstrate that her speech falls within the gambit of

speech protectable under the First Amendment. On this front, the Supreme Court has been clear

that “speech on public issues occupies the ‘highest rung of the hierarchy of First Amendment

values,’ and is entitled to special protection.” Connick v. Myers, 461 U.S. 138, 145 (1983)

(quoting NAACP v. Claiborne Hardware Co., 458 U.S. 886, 913 (1982)). This “reflects ‘a

profound national commitment to the principle that debate on public issues should be

uninhibited, robust, and wide-open.’” Snyder v. Phelps, 562 U.S. 443, 452 (2011) (quoting N.Y.

Times Co. v. Sullivan, 376 U.S. 254, 270 (1964)). “That is because ‘speech concerning public

affairs is more than self-expression; it is the essence of self-government.’” Id. (quoting Garrison

v. Louisiana, 379 U.S. 64, 74–75 (1964)). “Speech deals with matters of public concern when it

can be fairly considered as relating to any matter of political, social, or other concern to the

community, or when it is a subject of legitimate news interest; that is, a subject of general

interest and of value and concern to the public.” Id. at 453 (internal quotations and citations

omitted).

       In a similar vein, the Supreme Court has held that “advocacy by [an] attorney to the

courts” is “speech and expression” that enjoys First Amendment protection. Legal Servs. Corp.

v. Velazquez, 531 U.S. 533, 542–49 (2001). Although “[i]t is well settled that[,] when a lawyer

speaks on behalf of a client, the lawyer’s right to speak is almost always grounded in the rights

of the client, rather than any independent rights of the attorney . . . government action seeking to

limit an attorney’s advocacy ‘on behalf of’ a client implicates the client’s, as well as the

attorney’s, First Amendment interests—the attorney is, after all, the client’s speaker hired to

deliver the client’s message.” Eng v. Cooley, 552 F.3d 1062, 1068–69 (9th Cir. 2009) (internal

quotation and citation omitted). “This conclusion is a natural corollary of the long-recognized

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First Amendment right to hire and consult an attorney,” given that the “First Amendment’s

prohibition against state retaliation for hiring a lawyer would ring hollow if the state could

simply retaliate for the lawyer’s advocacy on behalf of the client instead.” Id. at 1069.

        Plaintiff’s speech is protectable both because it deals with a matter of public concern and

as attorney advocacy. In brief, Plaintiff has alleged that she attempted, throughout the period at

issue, to advocate at town board and committee meetings, primarily on behalf of her clients, for

interests adverse to the sand mining industry, including arguing in opposition to grants, licenses,

and other town action that could (and, as pled, in fact does) have a deleterious effect on the

environment. Moreover, the Complaint establishes that the sand-mining issue was on the

public’s radar and important to at least some constituents, pleading, among other things, that

sand mining in Plymouth and Carver and the regulations governing it caused “tensions . . .

between the miners and haulers who were trying to remain in the shadows, and the neighbors and

concerned residents who wanted to shine a bright light on the shadow industry,” [Compl. ¶ 109],

and that, although Sheehan was “the most readily identifiable” figure in that movement, [id.],

other “concerned residents” attended the town meetings on the issue, see [id. ¶ 52 (“concerned

residents” attended January 4, 2023 Plymouth ZBA meeting); ¶ 151 (alleging that “opposing

unlawful sand mining…is a matter of great public concern, and is rapidly becoming a matter of

political concern as well; ¶ 214 (same)]. Such speech is clearly protectable, whether as a matter

of public interest or as attorney speech. Connick, 461 U.S. at 145 (“The First Amendment was

fashioned to assure unfettered interchange of ideas for the bringing about of political and social

changes desired by the people.” (internal quotation and citation omitted)); cf. In re Halkin, 598

F.2d 176, 187 (D.C. Cir. 1979) (“Attorneys and parties retain their First Amendment rights even

as participants in the judicial process.”).

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       Because Plaintiff’s speech is protected by the First Amendment, for purposes of the

§ 1983 claim, the remaining inquiry is “whether there was, in fact, a deprivation of plaintiff’s

First Amendment rights.” Therrien v. Hamilton, 849 F. Supp. 110, 114 (D. Mass. 1994). On this

front, Plaintiff’s legal theory is not a model of clarity. Plaintiff’s briefing is devoid of any

characterization of her claim or applicable standard for a First Amendment violation. See

generally [ECF Nos. 37, 49, 78]. For instance, while references to Plaintiff’s rights to “free

speech, assembly, and petitioning” appear throughout the Complaint, [Compl. ¶ 78]; see also [id.

¶¶ 151, 190, 193–94, 214, 217, 239, 271, 281, 285–86], Plaintiff provides essentially no

authority for how to assess an alleged deprivation of her rights under any of these clauses or the

differences, if any, in the analysis of each.

       Compounding the confusion, as previously noted, Plaintiff specifically disclaimed

bringing a “retaliation” claim in her opposition to the Municipal Defendants’ motion to dismiss,

[ECF No. 78 at 6], but much of the case law cited in her oppositions to the other Defendants’

motions to dismiss centered on First Amendment retaliation cases, see, e.g., [ECF No. 37 at 13

(first citing Back Beach Neighbors Comm. v. Town of Rockport, 535 F. Supp. 3d 57, 65–66 (D.

Mass. 2021), aff’d, 63 F.4th 126 (1st Cir. 2023); and then citing R.I. Seekonk Holdings, LLC v.

Hines, 425 F. Supp. 3d 37, 44 (D. Mass. 2019))]. Then, when asked at the hearing on the

motions to dismiss about the applicable standard for a First Amendment violation, Plaintiff

pointed the Court to a recent decision out of the United States District Court for the District of

Columbia, Wilmer Cutler Pickering Hale and Dorr LLP v. Executive Office of the President, No.

25-cv-00917, 2025 WL 946979 (D.D.C. Mar. 28, 2025), calling it “very much on point.”




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[Rough Hearing Tr. 4:20–5:1 11]. WilmerHale’s action is, in large part, one for retaliation (as,

indeed, the language Plaintiff’s counsel quoted at the hearing made clear). [Rough Hearing Tr.

5:3–14 (quoting a portion of the order, stating, “[t]here is no doubt that this retaliatory action

chills speech and legal advocacy, or that it qualifies as a constitutional harm. The injuries to

plaintiff here WilmerHale, would be severe and would spill over to the clients and the justice

system at large”)].

        That said, while not entirely clear, Plaintiff’s Complaint, briefs, and oral argument all

appear to ground the deprivation in an alleged “chilling” of her rights. See, e.g., [ECF No. 37 at

13 (contending that “[e]ach time that Sheehan has been denied a fair hearing and fair

consideration for her clients, an actionable violation has occurred, particularly if the event

reduces (i.e., “chills”) the likelihood that she will continue to seek such a hearing and

consideration,” but failing to explain the nature of the violation and citing only to retaliation case

law); Compl. ¶¶ 151, 190, 271, 281]; see also [Rough Hearing Tr. at 8:7–16:6]. On this theory,

Municipal Defendants counter (also without reference to any concrete First Amendment

standard) that “[a]ny notion that plaintiff has been chilled in her advocacy on behalf of her

clients is ridiculous,” citing to the fact that, in the last four years, Plaintiff has filed five lawsuits

against the Town of Carver, four lawsuits against the Town of Plymouth, and six matters before

the Town of Plymouth Zoning Board of Appeals. [ECF No. 91 at 1 n.1]. Specifically, they

contend that, for such a “chill” claim to be actionable, Plaintiff must show that she was, in fact

“deterred from continuing to engage publicly.” [ECF No. 71 at 12–13].




11
  Citations to the April 9, 2025 hearing on Defendants’ motions to dismiss are taken from a
rough version of the transcript, available to the Court. As a caution, the cited page and line
numbers may not be an exact match to an official transcript should the parties order one.
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        At the outset, the Court notes that Plaintiff’s “chilling” argument, despite her disavowal

at having brought such a claim, sounds in retaliation. See Barton v. Clancy, 632 F.3d 9, 29 (1st

Cir. 2011) (“A campaign of informal harassment, for example, would support a First

Amendment retaliation claim if the alleged harassment would have such a chilling effect.”). But

see Hague v. Mass. Dep’t of Elementary & Secondary Educ., No. 10-cv-30138, 2011 WL

4073000, at *3 (D. Mass. Sept. 12, 2011) (distinguishing First Amendment claim premised on

school district’s chilling plaintiff parents’ speech through intimidation from employee First

Amendment retaliation claim). Setting aside the precise terminology of the deprivation, it is

clear that “[a] plaintiff may bring a Section 1983 claim alleging that public officials, acting in

their official capacity, took action with the intent to retaliate against, obstruct, or chill the

plaintiff’s First Amendment rights.” Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d

858, 867 (9th Cir. 2016) (emphasis added); see also Barton, 632 F.3d at 28 (clarifying that

retaliation claims under the First Amendment are not limited to formal government employer

relationships because “[o]fficial retaliation is actionable [where] it tend[s] to chill individuals’

exercise of constitutional rights” (internal quotation marks omitted)).

        For such a claim, the Complaint must allege that “(1) ‘the plaintiff was engaged in

constitutionally protected activity;’ (2) ‘the defendant’s actions caused the plaintiff to suffer an

injury that would chill a person of ordinary firmness from continuing to engage in that activity;’

and (3) ‘the defendant’s adverse action was substantially motivated as a response to the

plaintiff’s exercise of constitutionally protected conduct.’” 12 Davison v. Town of Sandwich, No.




12
  Given that the Court has already found that Plaintiff was engaged in protected activity, and
because the Municipal Defendants do not appear to contest the nexus between their actions and
Plaintiff’s claims, see [ECF No. 71 at 12–14], the Court focuses its analysis on the second prong.
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15-cv-11889, 2017 WL 1115154, at *16 (D. Mass. Mar. 24, 2017) (quoting Trant v. Oklahoma,

754 F.3d 1158, 1169–70 (10th Cir. 2014)); see also Dolan v. Tavares, No. 10-cv-10249, 2011

WL 10676937, at *12 (D. Mass. May 16, 2011) (similar); Ariz. Students’ Ass’n, 824 F.3d at 867

(requiring plaintiff to plead “that (1) [she] engaged in constitutionally protected activity; (2) the

[Municipal Defendants’] actions would chill a person of ordinary firmness from continuing to

engage in the protected activity; and (3) the protected activity was a substantial motivating factor

in the defendant’s conduct—i.e., that there was a nexus between the defendant’s actions and an

intent to chill speech” (internal quotation marks omitted)). The First Circuit has further advised

that “[e]ven ‘relatively minor events’ can give rise to § 1983 liability, so long as the harassment

is not so trivial that it would not deter an ordinary [citizen] in the exercise of his or her First

Amendment rights.” Barton, 632 F.3d at 29 (quoting Rivera-Jiménez v. Pierluisi, 362 F.3d 87,

94 (1st Cir. 2004)).

        Thus, while they are correct that “[w]here a chilling effect is speculative, indirect or too

remote, finding an abridgment of First Amendment rights is unfounded,” Sullivan v. Carrick,

888 F.2d 1, 4 (1st Cir. 1989), the Municipal Defendants are incorrect that Plaintiff must actually

show that her speech has been chilled; rather the inquiry is whether their conduct would “chill a

person of ordinary firmness” from engaging in their First Amendment rights, Davison, 2017 WL

1115154, at *16. On that front, Plaintiff’s allegations are more than satisfactory, particularly as

to Defendants Germain and Cavacco. Among other things, the Complaint alleges that Germain,

in his official capacity, “shouted [Plaintiff] down, bullied her, attempted to prevent her from

speaking, physically threatened her[,] and [otherwise] trammeled her rights on multiple

occasions.” [Compl. ¶ 151]. These occasions include, as discussed supra, stopping her in the

hallway outside of a town hearing to “threaten[]” that he “wouldn’t stop until [he] got rid of

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[her].” [Id. ¶ 21]. His behavior is further alleged as “untethered to any form of civility, or even

basic human decency,” and he is alleged to have been among “one of the principal offenders in

posting and reposting [] libelous and humiliating materials relat[ing] to” Plaintiff. [Id.]. For her

part, Cavacco is alleged to have stopped Plaintiff from speaking at a CPC meeting regarding a

contentious $4 million grant to Makepeace, [id. ¶¶ 111, 216, 219], written a letter falsely

accusing Plaintiff of subletting space in town without approval, [id. ¶¶ 87–89], sent that letter to

the MMP Facebook page before the recipient even received the letter, [id.], campaigned for

Town Meeting Member on the theme of Plaintiff’s supposed hypocrisy, [id. ¶¶ 94, 101],

repeatedly posted false and misleading information on her “Plymouth Rant” page, [id. ¶ 97], and

given an interview on a local radio station spouting similar themes, [id.]. Not only has Plaintiff

pled that her speech has, in fact, been chilled, [id. ¶¶ 151, 190, 271, 281], but the Court is also

satisfied that this conduct could and likely would chill a person of ordinary firmness, particularly

at the motion to dismiss stage. Back Beach Neighbors, 535 F. Supp. 3d at 65 (declining to

dismiss First Amendment claim premised on an official “pattern of official harassment and

retaliation” in response to plaintiff’s attempts “to petition the Town to curb the purported

violations of local regulations with respect to scuba diving at Back Beach”); Hague, 2011 WL

4073000, at *3 (holding that a motion to dismiss requires a “plausible inference” of chill, and

“the court may not disregard properly pled factual allegations”).

       Defendants Gray and Main pose a closer call, as the allegations against them are

(comparatively) sparse. That said, both are alleged to have engaged in a similar campaign of

harassment and retaliation, treating Plaintiff with hostility, bias, and aggression, in a manner that

exceeded the bounds of reasonable discourse, when she appeared in front of the ZBA committees

for which they served as the respective chairs. Specifically, Gray is alleged to, “like German,

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ha[ve] afforded Sheehan little respect when she appear[ed] before the Carver ZBA,” including

when he, as Chair of the ZBA, precluded her from presenting arguments on the basis of collateral

estoppel, an incident “for which he was seriously criticized in the local press.” [Compl. ¶¶ 23,

119]. His conduct was alleged to have been so egregious that, following one ZBA meeting, a

resident wrote a letter stating that she was “appalled at the disrespect” Gray demonstrated toward

Plaintiff. [Id. ¶ 121]. Gray then refused to read that letter at the subsequent day of the hearing,

despite making time to read an email critical of Plaintiff (which was received from a digital

impersonator, rather than an actual resident). [Id. ¶¶ 124–25]. Main is similarly alleged to have

engaged in “conduct [that] crossed the line from unreasonable to extreme [such that n]o

reasonable person would find [it] tolerable.” [Id. ¶ 53]. This includes his outbursts at the

January 4, 2023 Plymouth ZBA meeting, where he accused Plaintiff of lying to the ZBA and of

costing the town “millions and millions of dollars on [] frivolous lawsuits”—a theme which

would (conveniently) form the basis of the MMP page within a matter of days. [Id. ¶¶ 53–57,

60, 63]. Plaintiff has further alleged that she was “so offended by the conduct that she took the

time to write a letter objecting to Chair Main’s behavior to Betty Cavacco.” [Id. ¶ 59]. Once

again, at this stage, and in light of Plaintiff’s allegations that her speech was in fact chilled, the

Court is satisfied this is enough.

                            ii. Fourteenth Amendment Due Process

        Plaintiff also brings a § 1983 claim based on an alleged violation of her substantive due

process 13 rights under the Fourteenth Amendment. “Where, as here, a plaintiff’s substantive due



13
  Plaintiff’s Complaint references violations of her “substantive due process rights under the
Fifth and Fourteenth Amendment.” [Compl. ¶¶ 147, 152, 154, 210]. It does not allege any
violation her procedural due process rights. See generally [id.]. As such, the Court limits its
analysis to substantive due process claims under the Fourteenth Amendment.
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process claim challenges the specific acts of a state officer, the plaintiff must show both that the

acts were so egregious as to shock the conscience and that they deprived him of a protected

interest in life, liberty, or property.” Wadsworth v. Nguyen, 129 F.4th 38, 51 (1st Cir. 2025)

(citation omitted). Whether conduct “shocks the conscience” is a highly fact-specific inquiry,

but the First Circuit has instructed that “in order to shock the conscience, conduct must at the

very least be extreme and egregious, or . . . truly outrageous, uncivilized, and intolerable.”

Pagán v. Calderón, 448 F.3d 16, 32 (1st Cir. 2006) (citations omitted). “This standard is an

unforgiving one, ensuring that federal judges do not wade into territory ‘traditionally reserved for

state and local tribunals.’” 3137, LLC v. Town of Harwich, 126 F.4th 1, 11 (1st Cir. 2025)

(quoting Nestor Colón Medina & Sucesores, Inc. v. Custodio, 964 F.2d 32, 45 (1st Cir. 1992)).

       Both the Municipal Defendants and Plaintiff focuses on the first prong of the analysis—

namely, whether the Municipal Defendants’ conduct was so egregious as to shock the

conscience. [ECF No. 71 at 14–15; ECF No. 78 at 11–12]. 14 Setting that aside, the Court cannot

discern from Plaintiff’s Complaint what life, liberty, or property interest Plaintiff is contending

forms the basis of her substantive due process claim, which is required for Plaintiff to state a

claim. 15 Rivera v. Rhode Island, 402 F.3d 27, 33–34 (1st Cir. 2005) (“In order to establish a



14
  Plaintiff also appears to argue that, in order to state a claim for a Fourteenth Amendment
substantive due process violation, she need only plead sufficient facts to show that the Municipal
Defendants were deliberately indifferent to her constitutional rights. [ECF No. 78 at 10–12].
This is incorrect. See 3137, 126 F.4th at 12 (“In actuality, ‘conscience-shocking conduct is an
indispensable element of a substantive due process challenge . . . .’”).
15
  To the extent Plaintiff is alleging that, by violating Plaintiff of her First Amendment rights, the
Municipal Defendants also violated her substantive due process rights, this is not an actionable
Fourteenth Amendment claim. See [Compl. ¶ 150 (“Sheehan, acting as the attorney and
advocate for groups and individuals seeking to enforce the laws and to raise awareness about the
activities of the sand mining industry, is a person who has been subjected to a deprivation of her

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substantive due process claim, the plaintiff must first show a deprivation of a protected interest in

life, liberty, or property. . . . It is not enough to claim the governmental action shocked the

conscience.” (internal citations omitted)). Upon the Court’s questioning during oral argument,

Plaintiff pointed to two interests: 1) her rights to a clean environment under the Massachusetts

state constitution, and 2) her right to pursue her profession. [Rough Hearing Tr. at 17:3–18:17].

As to the first, binding circuit precedent is clear that Plaintiff has no protected substantive due

process right in making a living in her chosen profession. See Medeiros v. Vincent, 431 F.3d 25,

32 (1st Cir. 2005) (“The right to ‘make a living’ is not a ‘fundamental right,’ for either equal

protection or substantive due process purposes.”), abrogated in part on other grounds by Bond v.

United States, 564 U.S. 211 (2011); Gattineri v. Town of Lynnfield, 58 F.4th 512, 516 (1st Cir.

2023) (“As to the Fourteenth Amendment . . . Appellants have pointed to no authority, nor have

we found any, holding that it provides for a fundamental right to earn a living.”). As to the

second, Plaintiff has pointed to no authority, nor has the Court’s own diligence revealed any, for

the proposition that the right to clean air and water within the Massachusetts state constitution

constitutes a fundamental right for purposes of the Fourteenth Amendment. In the absence of

such authority, and in light of “the admonition that we should be ‘reluctant to expand the concept

of due process,’” the Court declines Plaintiff’s invitation to do so here. Pagán, 448 F.3d at 33

(quoting Collins v. City of Harker Heights, 503 U.S. 115, 125 (1992)).




rights under the . . . Fourteenth Amendment[]”); ¶ 213 (same)]; Pagán, 448 F.3d at 33 (noting
that substantive due process “is an inappropriate avenue of relief when the governmental conduct
at issue is covered by a specific constitutional provision”).
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       As such, Plaintiff’s § 1983 claims are DISMISSED as to the Municipal Defendants in

both their official and individual capacities to the extent they are premised on violation of her

Fourteenth Amendment rights.

                       2.      Municipal Liability

       As mentioned supra, Plaintiff contends that the deprivation of her First Amendment

rights is attributable to an “unwritten policy” within Carver and Plymouth such that the

municipalities can be held liable. [ECF No. 78 at 7–10]; see also [Compl. ¶¶ 148–150, 212–

13]. 16 The Municipal Defendants disagree, contending that “the Complaint is entirely bereft of

plausible allegations that either municipality has an unwritten policy of retaliating against

persons who speak out against sand mining or preventing advocacy against sand mining at public

boards.” [ECF No. 71 at 17]. They further assert that the Complaint “does not plausibly allege

any [] causal link between any unwritten Carver or Plymouth policy and any of the claimed

deprivations of [the] First, Fifth, or Fourteenth Amendment rights.” [Id. at 18]. The Court

disagrees.

       To establish a Monell claim, “a plaintiff must show that the violation occurred as a result

of the municipality’s ‘policy or custom.’” Freeman v. Town of Hudson, 714 F.3d 29, 38 (1st

Cir. 2013) (quoting Monell, 436 U.S. at 694). When a § 1983 claim is based on a municipal




16
   In the Complaint and briefing, Plaintiff also alleges that Carver and Plymouth are subject to
Monell liability based on failing to adequately train, educate, and supervise its town officials and
police personnel, which led to the alleged violation of her Fourteenth Amendment rights.
[Compl. ¶¶ 152, 154, 274, 284]; see also [ECF No. 78 at 10–11]. Because the Fourteenth
Amendment violation has been dismissed, and because Plaintiff does not plead that any alleged
failure to train caused the violation of her First Amendment rights, the Court does not address
this theory here.

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custom, 17 the custom “must be attributable to the municipality,” Whitfield v. Melendez-Rivera,

431 F.3d 1, 13 (1st Cir. 2005), such that it is “so well settled and widespread that the

policymaking officials of the municipality can be said to have either actual or constructive

knowledge of it yet did nothing to end the practice,” Baez v. Town of Brookline, 44 F.4th 79, 82

(1st Cir. 2022) (quoting Whitfield, 431 F.3d at 13). Evidence of a single incident of a

constitutional deprivation “is insufficient, in and of itself, to establish a municipal ‘custom or

usage’ within the meaning of Monell.” Mahan v. Plymouth Cnty. House of Corrs., 64 F.3d 14,

16–17 (1st Cir. 1995) (emphasis omitted) (quoting Bordanaro v. McLeod, 871 F.2d 1151, 1156–

57 (1st Cir. 1989)). Allegations of “multiple instances of misconduct” that suggest a “systemic

pattern of activity,” however, may support an inference of a municipal custom. See Doe v. Town

of Wayland, 179 F. Supp. 3d 155, 173 (D. Mass. 2016) (first citing Kibbe v. City of Springfield,

777 F.2d 801, 807 (1st Cir. 1985); and then citing Baron v. Suffolk Cnty. Sheriff’s Dep’t, 402

F.3d 225, 239 (1st Cir. 2005), abrogated on other grounds by Jennings v. Jones, 587 F.3d 430

(1st Cir. 2009)).

       Plaintiff’s allegations are sufficient at this stage to survive. Specifically, Plaintiff has

pled that Carver and Plymouth have a “longstanding practice and unwritten policy . . . of

protecting the owners of land on which sand and gravel mining occurs, the operators of the mine

(if different), and the haulers of the mined sand and gravel,” and that this policy “extends to




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   A “claim based on a theory of municipal policy is only viable where ‘the action that is alleged
to be unconstitutional implements or executes a policy statement, ordinance, regulation, or
decision officially adopted and promulgated by that body’s officers.’” Freeman v. Town of
Hudson, 849 F. Supp. 2d 138, 149 (D. Mass. 2012) (quoting Monell, 436 U.S. at 690). Because
the policy at issue here is alleged to be unwritten, and because Plaintiff cites to case law
governing a municipal “custom,” rather than a “policy,” [ECF No. 78 at 8], the Court’s analysis
focuses on whether Plaintiff has alleged an unlawful custom.
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impeding concerned residents, and groups, and their advocate (usually Sheehan) in their efforts

to oppose the sand mining industry through administrative and judicial proceedings.” [Compl.

¶¶ 148, 212]. These allegations, which the Municipal Defendants characterize as conclusory, are

further supported by the rest of the Complaint, which pleads, among other things, that Plymouth

and Carver have populated their relevant committees with members of the sand mining industry,

[id. ¶¶ 47, 76–77]; that Plaintiff’s opposition to the industry has resulted in industry participants

and town members treating her with hostility and bias, see, e.g., [id. ¶¶ 23, 77, 151]; that views

consistent with an expansion of sand mining have been permitted at town board and committee

meetings, while view adverse have been stifled, see, e.g., [id. ¶¶ 111, 119–25]; and that Plaintiff

and other town residents voiced concerns about the conduct of these meetings on multiple

occasions, which resulted in no action, see, e.g., [id. ¶¶ 43, 59, 121, 152]. At this stage, there is

sufficient evidence of the existence of a municipal custom that unconstitutionally quashed speech

in opposition to the sand mining industry.

                       3.      Legislative and Quasi-Judicial Immunities

       To the extent that the Complaint sufficiently pleads that they are liable for violating

Plaintiff’s First Amendment rights, the Municipal Defendants contend that they are entitled to

absolute immunity from suit on the basis of legislative and quasi-judicial immunity. [ECF No.

71 at 18–22].

                            i. Legislative Immunity

       Local legislators, including municipal officials, are “absolutely immune from suit under

§ 1983 for their legislative activities.” Bogan v. Scott-Harris, 523 U.S. 44, 49, 52 (1998) (“The

rationales for according absolute immunity to federal, state, and regional legislators apply with

equal force to local legislators.”). The immunity “attaches to all actions taken ‘in the sphere of

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legitimate legislative activity.’” Bogan, 523 U.S. at 54 (citing Tenney v. Brandhove, 341 U.S.

367, 376 (1951)). The administrative or executive actions of legislators, however, are not

entitled to protection, Acevedo-Garcia v. Vera-Monroig, 204 F.3d 1, 8 (1st Cir. 2000), and

“[a]ctions . . . that single out individuals or groups, rather than create general policies, are

administrative actions, not legislative,” S. Middlesex Opportunity Council, Inc. v. Town of

Framingham, 752 F. Supp. 2d 85, 111 (D. Mass. 2010). In assessing whether an act is

legislative, “the Court must consider whether the defendants’ actions were legislative ‘in form,’

such that they were ‘integral steps in the legislative process,’ and ‘in substance,’ such that they

‘bore all the hallmarks of traditional legislation.’” Fountain v. City of Methuen, 630 F. Supp. 3d

298, 310 (D. Mass. 2022) (quoting González-Droz v. González-Colón, 717 F. Supp. 2d 196, 214

(D.P.R. 2010)).

        The Municipal Defendants assert that they are entitled to immunity because “absolute

legislative immunity attaches to all actions taken ‘in the sphere of legitimate legislative

activity,’” which “includes [the] Town Meeting.” [ECF No. 71 at 18 (quoting Tenney v.

Brandhove, 341 U.S. 367, 376 (1951))]. Without more, however, the Municipal Defendants’

argument that their liability is “predicated on statements they made during or immediately

preceding local legislative meetings,” [id. at 19 (emphasis added)], is unavailing. The Municipal

Defendants provide no argument, authority, or explanation as to which actions at which meetings

they contend were legislative, see generally [ECF No. 71], and the allegations in the Complaint

establish that the underlying conduct occurred at meetings where decisions were made regarding

specific groups or applications, not meetings aimed at policymaking for the Towns of Plymouth

or Carver. See, e.g., [Compl. ¶ 37 (alleging September 28, 2021 Carve ZBA meeting related to

appeal of Makepeace zoning bylaw violation); ¶ 52 (alleging January 4, 2023 Plymouth ZBA

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meeting related to appeal of permit approval); ¶ 257 (alleging December 7, 2023 CPC meeting

related to Makepeace grant application); ¶ 119 (alleging May 29, 2024 Carver ZBA meeting

related to an appeal of a denial of an enforcement request against Makepeace subsidiary Read)];

see also Welch v. Paicos, 66 F. Supp. 2d 138, 181–82 (D. Mass. 1999) (“[T]he granting or denial

of a permit is a classic administrative or executive act.”). While it may be that the relevant

committees and boards do, at times, perform legislative functions, it is not clear on the present

record that the bodies were indeed performing legislative, rather than administrative, functions at

the relevant times. As such, at this stage, the Municipal Defendants are not entitled to absolute

legislative immunity.

                           ii. Quasi-Judicial Immunity

       The doctrine of quasi-judicial immunity “provides absolute immunity for public officials,

including agency officials, who perform quasi-judicial functions.” Coggeshall v. Mass. Bd. of

Registration of Psychs., 604 F.3d 658, 662 (1st Cir. 2010). As with legislative immunity,

whether this protection applies depends on the character of the actions at issue. See Bettencourt

v. Bd. of Registration in Med., 904 F.2d 772, 782 (1st Cir. 1990) (distinguishing actions taken in

an adjudicatory capacity from “administrative” acts and acts beyond the official’s jurisdiction or

“sphere of duty”). The “[p]roper analysis involves answering three questions, each designed to

determine how closely analogous the adjudicatory experience of a Board member is to that of a

judge.” Id. Those questions are:

       First, does a Board member, like a judge, perform a traditional “adjudicatory” function,
       in that he decides facts, applies law, and otherwise resolves disputes on the merits (free
       from direct political influence)? Second, does a Board member, like a judge, decide
       cases sufficiently controversial that, in the absence of absolute immunity, he would be
       subject to numerous damages actions? Third, does a Board member, like a judge,
       adjudicate disputes against a backdrop of multiple safeguards designed to protect a [the
       complaining party’s] constitutional rights?

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Id. (citing Butz v. Economou, 438 U.S. 478, 510–13 (1977)); see also Diva’s Inc. v. City of

Bangor, 411 F.3d 30, 41 (1st Cir. 2005). 18

       The Municipal Defendants’ claim for immunity falters on the first prong. The Court

cannot say that Chair Main or Gray, in presiding over the ZBA hearings, “decide[d] facts,

applie[d] law, and otherwise resolve[d] disputes on the merits,” and “free from direct political

influence.” Bettencourt, 904 F.2d at 783 Rather, Plaintiff alleges that, among other things, Gray

precluded her from speaking at the May 29, 2024 Carter ZBA hearing based an unfounded legal

theory, [Compl. ¶ 119], initially refused to hear information in opposition to that theory, [id.

¶ 120], declined to read letters in support of Plaintiff at the July 17, 2024 Carver ZBA meeting

despite reading a letter critical of her and replete with “the same verbiage as appears on the Meg

Millions Page” at the same meeting, [id. ¶ 123–25], and, in so acting, treated Plaintiff with

“visibl[e] condescend[sion]” and “demeaned, berated, and intimated” her, [id. ¶¶ 120, 175]. She

similarly alleges that, at the January 4, 2023 Plymouth ZBA meeting, Main berated her and



18
  The Municipal Defendants assert that, because they chaired the Plymouth and Carter ZBAs,
Gray and Main are immune from suit on the grounds of quasi-judicial immunity. [ECF No. 71 at
19–22]. Their argument relies heavily on Diva’s Inc. v. City of Bangor, in which the First
Circuit held that Bangor City Council members were entitled to quasi-judicial immunity for their
actions in reviewing and voting on a special amusement permit. See 411 F.3d at 41. In doing so,
however, the First Circuit noted that as to the third prong of the Bettencourt test—namely,
whether the proceedings at issue included “procedural safeguards that operate[d] to protect a
special amusement permit applicant from the violation of its constitutional rights”—the case
“present[ed] a perfect example” because the allegations established that:

       [The applicant] exercised its statutory right to (1) request a written explanation of
       the reasons justifying the Council’s denial of the special amusement permit, and (2)
       appeal the decision to the Bangor Board of Appeals. As a result of the appeal, the
       faulty decision of the City Council was reversed, and [the applicant] received its
       special amusement permit.

Diva’s, 411 F.3d at 41 (citations omitted). In other words, the allegations as pled established that
“[t]he process worked.” Id. That inference is not as readily supported here.
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repeatedly cut her off to attempt to stop her from making a presentation and that, when she was

allowed to proceed, he baselessly ridiculed her calculation methods, “imposed his own unilateral

rule” regarding the evidence that could be presented, and accused Plaintiff of lying and costing

the town millions of dollars. [Id. ¶¶ 56–57]. In light of these allegations, the Court cannot find

at this time that Gray and Main are entitled to absolute immunity as quasi-judicial officials. See

Brockton Power, 948 F. Supp. 2d at 65–66 (finding no quasi-judicial immunity attached where

defendants’ conduct, as alleged, included “concocting pretextual reasons to summarily reject a

filing,” “withholding from the public and other planning board members information necessary

to properly consider the submission,” and “preventing the plaintiffs’ representative from

speaking during a public hearing on the submission,” concluding such actions are “plainly

administrative in nature”).

       Because Plaintiff’s Complaint successfully pleads both a violation of her First

Amendment rights and Monell liability, and because they are not entitled to absolute immunity,

the Municipal Defendants’ motion to dismiss the claims against them in their official

capacities—Counts 2 and 12—is DENIED.

                       4.      Qualified Immunity

       “The Supreme Court has long established that, when sued in their individual capacities,

government officials are immune from damages claims unless ‘(1) they violated a federal

statutory or constitutional right, and (2) the unlawfulness of their conduct was ‘clearly

established at the time.’” Eves v. LePage, 927 F.3d 575, 582–83 (1st Cir. 2019) (quoting District

of Columbia v. Wesby, 583 U.S. 48, 62–63 (2018)). While qualified immunity can be raised in a

motion to dismiss, id. at 583 n.5, the Municipal Defendants present no legal analysis supporting

their argument that they are entitled to qualified immunity at this stage of the proceedings,

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resting instead on their arguments “on the merits of Plaintiff’s constitutional claims.” See [ECF

No. 71 at 22 (stating, without elaboration, that “to the extent the individual municipal defendants

are not shielded by legislative or quasi-judicial immunity, they are entitled to qualified

immunity”)]. Successfully invoking qualified immunity requires more than mentioning the

immunity without any attempt at developed argument. See Latimore v. Trotman, No. 14-cv-

13378, 2017 WL 3623159, at *10 (D. Mass. Aug. 23, 2017) (denying the Commonwealth’s

motion to dismiss for insufficiently briefing qualified immunity at summary judgment stage);

Díaz-Colón v. Fuentes-Agostini, 786 F.3d 144, 149 (1st Cir. 2015) (affirming denial of summary

judgment on qualified immunity for failure to adequately brief and explaining: “We share the

district court’s frustration with the inadequate briefing submitted on behalf of the defendants. It

is black letter law that we deem waived claims not made or claims adverted to in a cursory

fashion, unaccompanied by developed argument.” (citation and quotation omitted)). Here,

because the Municipal Defendants have failed to sufficiently brief qualified immunity, the Court

declines to grant the motion to dismiss on this ground. The Municipal Defendants may raise this

defense at the summary judgment stage if warranted.

       The Municipal Defendants’ motion to dismiss Counts 3, 4, 13, and 14 is DENIED.

           B.      Conspiracy Claims Against the Makepeace and SLT Defendants

       Plaintiff also brings claims for conspiracy to violate her First and Fourteenth Amendment

rights alongside the Municipal Defendants against the Makepeace Defendants and the SLT

Defendants. Plaintiff brings two types of claims: 1) conspiracy pursuant to § 1983 against the

Makepeace and SLT Defendants and certain Municipal Defendants in their official capacities,

[Compl. ¶¶ 178–92 (Count 7), ¶¶ 254–74 (Count 19), ¶¶ 275–84 (Count 20)], and 2) conspiracy

pursuant to § 1985(3) against the Makepeace and SLT Defendants and certain Municipal

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Defendants in their individual capacities, [Compl. ¶¶ 193–95 (Count 8), ¶¶ 285–87 (Count

21)]. 19

                          1.      42 U.S.C. § 1983 Conspiracy

           At the outset, the parties disagree on the standard that governs Plaintiff’s § 1983 claim as

against the non-Municipal Defendants. The Makepeace Defendants, in particular, contend that

Plaintiff has failed to state a § 1983 claim because “[c]onduct by private actors, like the

Makepeace Defendants[,] is only subject to § 1983 if it can be attributed to the state by virtue of

the close relationship between the two,” [ECF No. 34 at 15], and that “to qualify, one of three

demanding tests set forth by the First Circuit must be passed,” [id.]; see also [ECF No. 45 at 8–

9]. Plaintiff counters that the Makepeace Defendants are “each liable for the conduct of their

municipal co-conspirators in furtherance of the conspiracy.” [ECF No. 37 at 14].

           Plaintiff’s argument is ultimately more availing. While Defendant is correct that, to state

a claim for a violation under § 1983, a plaintiff must typically make a showing that the

defendant’s action constituted “state action,” the First Circuit has been clear that “a conspiracy

between a state actor and a private party to accomplish a prohibited end constitutes state action.”

Alston v. International Association of Firefighters, Local 950, 998 F.3d 11, 33 (1st Cir. 2021);

see also Casa Marie, Inc. v. Super. Ct. of P.R. for Dist. of Arecibo, 988 F.2d 252, 259 (1st Cir.



19
   Specifically, Plaintiff brings claims against: 1) Carver, Germain, SLT, and Opachinski for
conspiracy to violate Plaintiff’s First Amendment rights pursuant to § 1983, [Compl. ¶¶ 178–92
(Count 7)]; 2) SLT, Opachinski, and Germain for conspiracy to violate Plaintiff’s First
Amendment rights pursuant to 42 U.S.C. § 1985(3), [id. ¶¶ 193–95 (Count 8)]; 3) Plymouth,
Cavacco, Makepeace, and Kane for conspiracy to violate Plaintiff’s First, Fifth, and Fourteenth
Amendment rights pursuant to § 1983, [id. ¶¶ 254–74 (Count 19)]; 4) Carver, Makepeace, and
Kane for conspiracy to violate Plaintiff’s First, Fifth, and Fourteenth Amendment rights pursuant
to § 1983, [id. ¶¶ 275–84 (Count 20)]; 5) Cavacco, Makepeace, and Cane for conspiracy to
violate Plaintiff’s First Amendment rights pursuant to 42 U.S.C. § 1985(3), [id. ¶¶ 285–87
(Count 21)].
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1993) (“An actual conspiracy between a state court and a party attempting a plainly prohibited

act would constitute ‘state action.’”); United States v. Price, 383 U.S. 787, 794 (1966) (“Private

persons, jointly engaged with state officials in the prohibited action, are acting ‘under color’ of

law for purposes of [section 1983]. To act ‘under color’ of law does not require that the accused

be an officer of the State. It is enough that he is a willful participant in joint activity with the

State or its agents.”). To adequately plead the existence of such a conspiracy, a plaintiff must

allege both a conspiratorial agreement and an actual deprivation of a right secured by the

Constitution and laws. See Nieves v. McSweeney, 241 F.3d 46, 53 (1st Cir. 2001); Landrigan v.

City of Warwick, 628 F.2d 736, 742 (1st Cir. 1980).

        On the merits, both the Makepeace Defendants and the SLT Defendants argue that

Plaintiff has not sufficiently pled the elements of a conspiracy. The Makepeace Defendants, in

particular, argue that Plaintiff’s allegations regarding a conspiracy are conclusory, with the

Complaint alleging “[a]t most . . . that the Makepeace Defendants and Municipal Defendants

shared a common interest and an ‘implied’ symbiotic relationship or ‘organic alliance.’” [ECF

No. 34 at 16 (quoting Compl. ¶¶ 259, 264)]. They contend this falls short of alleging that “the

Makepeace Defendants and Municipal Defendants had an agreement to deprive Plaintiff of her

rights.” [Id.]. 20 Plaintiff responds that “the Complaint is replete with allegations of interference

with, and deprivation of, Sheehan’s First Amendment rights by conflicted town officials who



20
  Because they misunderstand the standard for a § 1983 conspiracy claim, the Makepeace
Defendants only argue the merits of whether Plaintiff has sufficiently pled the existence a
conspiracy in response to her § 1985(3) claim. [ECF No. 34 at 16]. The Court will also consider
these arguments as relevant to whether Plaintiff has established a conspiracy under § 1983.
Williams v. Turco, No. 19-cv-11807, 2022 WL 828167, at *2 (D. Mass. Mar. 2, 2022) (noting
that “[t]he First Circuit adheres to a similar definition of a conspiratorial agreement in the
context of a conspiracy claim under 42 U.S.C. § 1985(3)” and § 1983), report and
recommendation adopted, No. 19-cv-11807, 2022 WL 827288 (D. Mass. Mar. 18, 2022).
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were aligned with the Makepeace Defendants” and contends that this “organic alliance” to meet

a “common objective, i.e., to stop Sheehan from impeding the sand mining industry” is

sufficient. [ECF No. 37 at 14–15 (cleaned up)]. Specifically, Plaintiff asserts that the Complaint

establishes that “[t]he state actors in Carver and Plymouth, i.e., members of the committees and

boards responsible for earth removal, zoning, and conservation, as well as the Select Board and

the Zoning Board of Appeals, helped ‘to effectuate Kane’s and Makepeace’s objectives by

repeatedly denying Sheehan fair hearings and fair consideration.’” [Id. at 16 (quoting Compl.

¶ 271)].

       The SLT Defendants similarly argue that Plaintiff’s allegations are conclusory,

particularly to the extent they rely on the relationship between Opachinski and Germain. [ECF

No. 44 at 10]. They contend that Plaintiff is essentially trying to “string together a ‘conspiracy’”

between Opachinski and Germain based on a single incident—namely, Plaintiff’s altercation

Germain in which he stated that he “wouldn’t stop until [he] got rid of [her],” which occurred

following a board decision on an SLT permit application from which Germain did not recuse

himself. [Id. at 10 (quoting Compl. ¶ 21)]. The SLT Defendants additionally argue that

Opachinski’s comments and conduct, particularly online, cannot be attributed to SLT because

“none of [his] comments even remotely suggest that he [was] speaking for SLT.” [Id. at 12].

Rather, his comments were “his own personal opinions expressed on his Facebook account.”

[Id.]. Plaintiff responds that she is not seeking to string together a conspiracy from a single

incident; rather, she contends the Complaint contains sufficient “subsidiary allegations” to

support the conspiracy. [ECF No. 49 at 12–14].

       “To establish the first element of a section 1983 conspiracy—an agreement among the

members of the conspiracy—the plaintiff must prove either the existence of a ‘single plan[,] the

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essential nature and general scope of which [was] known to each person who is to be held

responsible for its consequences,’ or ‘[a]t the least’ that ‘the parties decide[d] to act

interdependently, each actor deciding to act only because he was aware that the others would act

similarly.’” Sanchez v. Foley, 972 F.3d 1, 12 (1st Cir. 2020) (alterations in original) (quoting

Aubin v. Fudala, 782 F.2d 280, 286 (1st Cir. 1983)). The First Circuit has acknowledged that the

“agreement” element of a conspiracy claim “is seldom susceptible of direct proof,” and that

“more often than not,” an agreement “must be inferred from all the circumstances.” Earle v.

Benoit, 850 F.2d 836, 843 (1st Cir. 1988); see also Bourjaily v. United States, 483 U.S. 171,

179–80 (1987) (noting, in the context of co-conspirator exception to hearsay, that “individual

pieces of evidence, insufficient in themselves to prove a point, may in cumulation prove it”).

That said, this does not excuse Plaintiff from alleging “enough factual matter (taken as true) to

suggest that an agreement was made.” Twombly, 550 U.S. at 556. “Vague and conclusory

allegations about persons working together, with scant specifics as to the nature of their joint

effort or the formation of their agreement, will not suffice to defeat a motion to dismiss.” Alston

v. Spiegel, 988 F.3d 564, 578 (1st Cir. 2021).

        Despite Defendants’ protestations to the contrary, Plaintiff’s allegations do not rest on the

mere conclusion that an agreement existed between the SLT and Makepeace Defendants and the

Municipal Defendants; rather, she provides sufficient factual allegations which, taken as true at

this stage, raise the plausible inference of an agreement to work in concert to violate Plaintiff’s

First Amendment rights in furtherance of the sand mining industry’s interests. With regard to the

SLT Defendants, Plaintiff’s allegations establish that Opachinski and his company, SLT,

[Compl. ¶ 179], “worked hand in glove with the Town of Carver because of their relationship

with Germain, who hauled their sand,” [id. ¶ 129], and was also a personal friend of

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Opachinski’s, [id. ¶ 44]. Specifically, the Complaint alleges that Opachinski and SLT contracted

with Germain’s company (AGT) specifically for services regarding sand mining and hauling, [id.

¶ 19], and that, because of this relationship and the economic benefit it afforded him, Germain

did “everything in his power to further the Town’s unwritten policy,” [id. ¶ 157], discussed infra,

of impeding Plaintiff from opposing the sand mining industry at committee meetings over which

he wielded authority, [id. ¶¶ 4, 46, 182, 184, 190], including the incident in the hallway where he

“threatened in a menacing and loud voice that he ‘wouldn’t stop until he got rid of [Plaintiff],’”

[id. ¶ 43]. It further alleges that the Town of Carver “went to some lengths to protect Germain

. . . [w]hen residents requested an investigation of [his] behavior toward [Plaintiff],” [id. ¶ 45],

and that it “did absolutely nothing” to stop Germain’s repeated behavior, even when the Carver

Select Board became aware of it, [id. ¶ 46]. Additionally, the Complaint alleges that Germain, in

service of this relationship, did not recuse himself when “at least one permit application was

under consideration by the Conservation Commission for SLT’s mining operation,” [id. ¶ 21–22,

46, 49]. At this stage, the Court is satisfied that these allegations cross the threshold of pleading

the plausible existence of an agreement between Carver, Germain, SLT, and Opachinski to

violate Plaintiff’s First Amendment rights. Cf. Alston, 988 F.3d at 578 (finding plaintiff had not

sufficiently pled a conspiracy where he did not “allege any agreement between [defendants] even

minimally related to him (let alone to the deprivation of his rights)”). As such, Defendants’

motions to dismiss Counts 7 is DENIED.

       Similarly, regarding the Makepeace Defendants, the Complaint alleges that, by virtue of

being “perhaps the most significant . . . participant in the sand mining industry in Southeastern

Massachusetts,” [Compl. ¶ 263], Makepeace and Kane formed “an organic alliance” with the

towns of Plymouth and Carver to further the unwritten policy of “supporting the sand mining

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industry and seeking to prevent” Plaintiff and her constituents from opposing it, [id. ¶¶ 263–64].

They did so in part through “establish[ing] with great care mutually supportive relationships with

Town officials, including particularly with Cavacco, and therefore the Town of Plymouth,” [id.

¶¶ 255, 259], as well as “ingratiat[ing] themselves with the Town of Carver and with various

officials in that Town” [id. ¶ 276]. Additionally, while the allegations against Makepeace and

Kane establishing a conspiracy may be sparse as compared to those against the SLT Defendants,

the inference of an agreement is perhaps stronger, given that many of the meetings recounted in

the Complaint at which the Municipal Defendants allegedly violated Plaintiff’s First Amendment

rights are meetings at which Makepeace directly sought to benefit. See, e.g., [id. ¶ 111

(December 7, 2023 Plymouth CPC meeting related to awarding Makepeace a $4 million grant);

¶ 119 (May 29, 2024 Carver ZBA meeting regarding appeal of a denial of enforcement request

against Makepeace subsidiary Read)]. As such, the Court is again satisfied that Plaintiff has pled

a plausible agreement, and Defendants’ motions to dismiss Counts 19 and 20 are DENIED. 21

                      2.      42 U.S.C. § 1985(3) Conspiracy

       Under 42 U.S.C. § 1985(3), it is illegal for two or more persons in any state or territory to

conspire to deprive any person or class of persons of the equal protection of the laws. See Perez-

Sanchez v. Pub. Bldg. Auth., 531 F.3d 104, 107 (1st Cir. 2008) (citing 42 U.S.C. § 1985(3)). A

conspiracy claim arising under Section 1985(3) must contain four elements:

       First, the plaintiff must allege a conspiracy; second, he must allege a conspiratorial
       purpose to deprive the plaintiff of the equal protection of the laws; third, he must identify


21
  The SLT Defendants further argue that Plaintiff’s claim fails because she fails to meet the
“heightened burden” to plead punitive damages. [ECF No. 44 at 13]. Plaintiff seeks both
compensatory and punitive damages against the SLT Defendants for their alleged § 1983
violations. See [Compl. at 113–17]. Because the claim survives as to compensatory damages,
the Court declines to decide the punitive damages issue at this stage. Defendants may revive this
argument at summary judgment should the factual record warrant it.
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         an overt act in furtherance of the conspiracy; and finally, he must show either injury to
         person or property, or a deprivation of a constitutionally protected right.

Id.; accord Parker v. Landry, 935 F.3d 9, 17–18 (1st Cir. 2019). With respect to the second,

“equal protection” element, the plaintiff must show “some racial, or perhaps otherwise class-

based, invidiously discriminatory animus behind the conspirators’ action.” Perez-Sanchez, 531

F.3d at 107 (quoting Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)). The First Circuit

requires plaintiffs to prove that (1) the defendants conspired against them because of their

membership in a class, and (2) the criteria defining the class are invidious. See Aulson v.

Blanchard, 83 F.3d 1, 4 (1st Cir. 1996).

         Plaintiff appears to concede that her claims under § 1985(3) are uncertain at best,

claiming the “statutory interpretation of [the provision] has been tortured,” [ECF No. 37 at 15

n.4], and she further concedes that, while she “is a member of two protected classes (gender and

age),” she “does not wish to rely, at least based on her current knowledge, on either status as the

basis for such deprivation,” [id.]. She instead urges the Court to “side-step” the issue at this

early stage because “the MCRA provides the same remedies.” [Id.]. Because Plaintiff concedes

that she is not relying on class membership as a basis for her § 1985(3) claim, and given the state

of First Circuit case law, Defendants’ motions to dismiss the § 1985(3) claims (Counts 8 and 21)

are GRANTED.

            C.      Massachusetts Civil Rights Act (“MCRA”)

         Plaintiff brings two claims for violations of the MCRA, one against the SLT Defendants

and one against the Makepeace Defendants. [Compl. ¶¶ 196–98 (Count 9), ¶¶ 288–290 (Count

22)].

         The MCRA is the Commonwealth’s “counterpart” to Section 1983 and is “basically

coextensive with the federal statute,” with some differences in the required elements. Fletcher v.
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Szostkiewicz, 190 F. Supp. 2d 217, 230 (D. Mass. 2002) (internal quotations and citation

omitted). Relevant here, “the MCRA is in fact broader substantively insofar as it reaches private

conduct; it is also narrower substantively insofar as it only reaches constitutional deprivation

caused by threats, intimidation, or coercion.” Jakuttis v. Town of Dracut, 656 F. Supp. 3d 302,

331 (D. Mass. 2023), aff’d in part, remanded in part, 95 F.4th 22 (1st Cir. 2024).

       To establish a claim under the MCRA, a plaintiff must prove that “(1) the exercise or

enjoyment of some constitutional or statutory right; (2) has been interfered with, or attempted to

be interfered with; and (3) such interference was by threats, intimidation, or coercion.” Currier

v. Nat’l Bd. of Med. Exam’rs, 965 N.E.2d 829, 837–38 (Mass. 2012).

       A “threat” means “the intentional exertion of pressure to make another fearful or
       apprehensive of injury or harm”; “intimidation” means “putting in fear for the purpose of
       compelling or deterring conduct”; and “coercion” means “the application to another of
       such force, either physical or moral, as to constrain him to do against his will something
       he would not otherwise have done.”

Thomas v. Harrington, 909 F.3d 483, 492 (1st Cir. 2018) (quoting Planned Parenthood League of

Mass., Inc. v. Blake, 631 N.E.2d 985, 990 (Mass. 1994)). “[T]he MCRA contemplates a two-

part sequence,” allowing liability where “(1) the defendant threatens, intimidates, or coerces the

plaintiff, in order to (2) cause the plaintiff to give up something that [she] has the constitutional

right to do.” Id. (quoting Goddard v. Kelley, 629 F.Supp.2d 115, 128 (D. Mass. 2009)). “It is

rare for a MCRA claim to involve no physical threat of harm,” although Massachusetts courts

provide that “a pattern of harassment and intimidation” can support a finding of non-physical

coercion under the MCRA. Id. at 492–93 (quoting Howcroft v. City of Peabody, 747 N.E.2d

729, 746 (Mass. 2001)).

       The SLT and Makepeace Defendants contend that Plaintiff has failed to state a claim

under the MCRA because she fails to plead that these Defendants engaged in any threats,


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intimidation, or coercion. [ECF No. 34 at 17]; [ECF No. 44 at 14–16]. The Court disagrees. As

discussed supra, Plaintiff’s allegations sufficiently plead a conspiracy between the SLT,

Makepeace, and Municipal Defendants to violate her First Amendment rights, and this

conspiracy included a sustained online and in person campaign of harassment and intimidation,

in which both the SLT and Makepeace Defendants are alleged to have participated, personally

and through their co-conspirators. See, e.g., [Compl. ¶ 75 (Makepeace, purportedly with Kane’s

knowledge and consent, sent security personnel to film Plaintiff without her consent while she

was in a public buffer zone); ¶¶ 83, 89 (examples of Opachinski’s many comments on MMP

posts)]. While Plaintiff has not fashioned her MCRA claim as a civil conspiracy claim, given the

pattern of harassment and intimidation inherent in the underlying First Amendment violation, the

Court declines to dismiss her MCRA claims as to the SLT and Makepeace Defendants at this

time. As such, their motions to dismiss Counts 9 and 22 are DENIED.

           D.     Defamation

       Plaintiff brings several claims against Defendants for defamation, including claims for 1)

slander and libel, jointly and severally, against Carver and Germain, [Compl. ¶¶ 165–72 (Count

5)]; 2) slander and libel against Opachinski and SLT, [id. ¶¶ 199–204 (Count 10)]; 3) slander and

libel, jointly and severally, against Plymouth and Cavacco, [id. ¶¶ 229–37 (Count 15)]; 4)

slander, jointly and severally, against Plymouth and Main, [id. ¶¶ 238–41 (Count 16)]; and 5)

slander against Kane and Makepeace, [id. ¶¶ 291–96 (Count 23)].




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                       1.      Municipal Defendants 22

       The Municipal Defendants move to dismiss Plaintiff’s defamation claims against them on

the grounds that they cannot be sued for intentional torts under the Massachusetts Tort Claims

Act (“MTCA”). [ECF No. 71 at 25–26]. Specifically, the Municipal Defendants contend that

because the defamation claims are brought against the towns of Plymouth and Carver and

various town officials in their official capacities, they are exempted from liability under the

MTCA. [Id.]. They further argue that because Plaintiff did not bring separate counts against

Germain, Cavaco, and Main in their individual capacities, as she did with the § 1983 claims, no

such claims exist. [Id. at 26 & n.11]. Plaintiff responds that “[p]ublic employees and officials,

even when the harm was caused while they were acting in their official capacity, i.e., within the

scope of their jobs, can be sued for intentional torts, for which they are personally liable.” [ECF

No. 78 at 24 (emphasis in original)].

       Section 10(c) of the MTCA bars municipal liability for “any claim arising out of an

intentional tort.” Swanset Dev. Corp. v. City of Taunton, 668 N.E.2d 333, 338 (Mass. 1996)

(quoting Mass. Gen. Laws ch. 258, § 10(c)). “Bringing a claim against a Town employee in his

or her official capacity equates to bringing a claim against the entity.” Saltzman v. Town of

Hanson, 935 F. Supp. 2d 328, 350 (D. Mass. 2013). Section 10 of the MTCA, however,

“provides for exemptions from operation of [MTCA] § 2 . . . [and] states in pertinent part that a

public employee shall not be immune from ‘any claim arising out of an intentional tort.’”

McNamara v. Honeyman, 546 N.E.2d 139, 142 (Mass. 1989); see also Spring v. Geriatric Auth.

of Holyoke, 475 N.E.2d 727, 735 (Mass. 1985) (“While public employers . . . may not be held



22
  The Court will continue to refer to the Municipal Defendants as such but notes that there is no
defamation claim brought against Gray.
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liable for intentional torts committed by their employees, the employees may be personally liable

for any harm they have caused.”). Accordingly, town officials “are immune from suit for such

intentional torts in their official capacity, but not when sued in their individual capacities.”

Carter-Galica v. Town of Warren, 926 N.E.2d 1201, at *1 (Mass. App. Ct. 2010) (unpublished

table decision); see also Howcroft v. City of Peabody, 747 N.E.2d 729, 747 (Mass. App. Ct.

2001) (affirming dismissal of intentional tort claims against police officers in their official

capacities, under § 10(c) of the MTCA, but reversing dismissal with respect to individual

capacity claims).

        Although Defendants are correct that the Municipal Defendants cannot be held liable in

their official capacities for intentional torts, the Complaint (albeit less elegantly than it does for

the § 1983 claims) also pleads claims for defamation against Germain, Cavacco, and Main in

their individual capacities. See [Compl. ¶ 170 (“Germain would nonetheless be individually

liable for the harm caused by his statements”); ¶ 235 (same regarding Cavacco); ¶ 241 (“Sheehan

is entitled to recover her damages from the Town and Main, jointly and severally if he has been

acting in his official capacity, and from Main individually if he is deemed to have been acting in

his individual capacity”)]. These claims remain viable under the MTCA.

        The Municipal Defendants do not seek dismissal nor make any argument on the merits as

to the claims against Germain, Cavacco, and Main in their individual capacities. See [ECF No.

71]. As such, their motion to dismiss is GRANTED as to Counts 5, 15, and 16 to the extent the

defamation claims are brought against the towns of Plymouth and Carver and against Germain,

Cavacco, and Main in their official capacities but DENIED to the extent they are premised on

Germain, Cavacco, and Main acting in their individual capacities.




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                       2.      SLT Defendants

       The SLT Defendants move to dismiss Plaintiff’s defamation claims against them for three

reasons: 1) Opachinski’s statements constitute personal opinion “which is clearly protected

speech that is not actionable,” [ECF No. 44 at 16]; 2) to the extent the statements are not

protected speech, they are not actionable as Plaintiff is a limited public figure for the purposes of

these claims, which requires Plaintiff to plead actual malice, which she has not done, [id. at 18–

19]; and 3) any sufficiently pled defamatory statements of SLT employees, specifically

Opachinski and Martin, cannot be attributed to SLT, [id. at 16–19]. Plaintiff responds that the

SLT Defendants “are defining ‘opinion’ too broadly,” [ECF No. 49 at 19–20], that employee

statements can be attributed to SLT through respondeat superior, [id. at 21], and that whether

Plaintiff is a limited-purpose public figure is a fact question not amenable to a motion to dismiss,

[id. at 21–22].

       To state a claim for defamation under Massachusetts law, a plaintiff must allege: “(1) that

‘[t]he defendant made a statement, concerning the plaintiff, to a third party’; (2) that the

statement was defamatory such that it ‘could damage the plaintiff’s reputation in the

community’; (3) that ‘[t]he defendant was at fault in making the statement’; and (4) that ‘[t]he

statement either caused the plaintiff economic loss . . . or is actionable without proof of

economic loss.’” Shay v. Walters, 702 F.3d 76, 81 (1st Cir. 2012) (alterations in original)

(quoting Ravnikar v. Bogojavlensky, 782 N.E.2d 508, 510–11 (Mass. 2003)). Additionally,

“[s]uperimposed on any state’s defamation law are First Amendment safeguards.” McKee v.

Cosby, 874 F.3d 54, 60 (1st Cir. 2017). As relevant to the present dispute, “a statement, even if

couched as an opinion, will give rise to liability if it implies the existence of underlying false and

defamatory facts as its basis; conversely, a statement is immunized so long as the speaker

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discloses all of the facts undergirding it and none of them are both false and defamatory.” Id.

(cleaned up). “In other words, when the speaker ‘outlines the facts available to him, thus making

it clear that the challenged statements represent his own interpretation of those facts and leaving

the reader free to draw his own conclusions, those statements are generally protected by the First

Amendment.’” Id. (quoting Riley v. Harr, 292 F.3d 282, 289 (1st Cir. 2002)).

          Beginning with Opachinski, the parties focus their briefing on a subset of the statements

he allegedly made via his personal Facebook page, which convey that Plaintiff’s activism was

somehow rendered hypocritical by virtue of her father’s business. [ECF No. 44 at 5–6, 17; ECF

No. 49 at 19–21]. Specifically, the Complaint alleges that Opachinski:

     •    commented on an MMP post falsely attributing “marketing of an undeveloped parcel by a
          Sheehan family company” to Plaintiff, specifically calling her a “lying, vile old hag.”
          [Compl. ¶¶ 102–03].

     •    commented on an MMP post regarding land Plaintiff’s family donated, stating, “There’s
          a right way to do it and a wrong way to do it. If Meg Sheehan cares so much about
          conservation, maybe she and daddy can donate the $4M parcel of land they are selling
          along the Plymouth waterfront. Never seen such a hypocrite in my life!” [id. ¶ 106].

     •    responded to a comment on the same MMP post after someone defended Plaintiff,
          saying, “Then why is Meg selling her land along the Plymouth waterfront for $4M? If
          she truly cared about conservation, she should donate the land for a park. Again, nothing
          but a phony. If I tried to develop that property, she’d be busting my balls there too like
          she tried doing in Carver. All she does is lose in court, and we have to raise land prices
          to cover legal expenses.” [id. ¶ 106]. He then followed it up with “Just another one of
          the vile hag’s scams!” [Id.].

The SLT Defendants contend that these statements are not actionable because “[n]one of these

comments express anything more than Mr. Opachinski’s own subjective view and conjecture on

facts disclosed by a third party.” [ECF No. 44 at 18]. 23 Plaintiff responds that in order for that to



23
  The SLT Defendants also make a passing argument to the effect that Opachinski’s personal
Facebook page expresses only his own opinions which are inactionable. [ECF No. 44 at 16].

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be true, Opachinski would have needed to disclose “all of the facts undergirding” his opinion and

establish that “none of them are both false and defamatory,” which he cannot and did not do.

[ECF No. 49 at 20 (citing McKee, 874 F.3d at 61)].

       The SLT Defendants’ cited case law is a far cry from the facts as alleged here. While

they are correct that a speaker’s simultaneous disclosure of the facts underlying an alleged

defamatory opinion can render the speaker’s statements inactionable, the SLT Defendants

provide no authority for the proposition that this doctrine applies when the speaker—here,

Opachinski—did not actually disclose anything. Cf. Mullane v. Breaking Media, Inc., 433 F.

Supp. 3d 102, 113 (D. Mass. 2020), aff’d, No. 20-1061, 2021 WL 3027150 (1st Cir. Feb. 26,

2021) (immunizing where defendant author, in written piece, provided the “full factual basis” for

the statements at issue); McKee, 874 F.3d at 61 (noting First Amendment immunizes a speaker

who discloses facts underlying subjective assessment). All Opachinski is alleged to have

disclosed is his opinion, without offering any factual basis for it. Moreover, even if the Court

were to accept the SLT Defendants’ premise, the Complaint provides scant information

regarding the content of the posts on which Opachinski’s commented, and it certainly does not

provide enough information for the Court to determine whether the posts contained “all of the

facts undergirding” Opachinski’s comments and that “none of them are both false and




“Whether a statement is fact or opinion is determined by whether the statement would be
understood by a reasonable reader as containing ‘objectively verifiable facts.’” Conformis, Inc.
v. Aetna, Inc., 58 F.4th 517, 531 (1st Cir. 2023) (quoting Scholz v. Delp, 41 N.E.3d 38, 45
(Mass. 2015)). Moreover, “[a]t the pleading stage . . . a statement that can reasonably be
understood as either fact or opinion is sufficient to survive a motion to dismiss.” Id. Certain
comments, such as that all Plaintiff does is “lose in court,” strike this Court as objectively
verifiable, and given that the SLT Defendants do not point to which statements they contend are
“opinion,” the Court declines to parse each statement at this time or otherwise dismiss the claim
on this basis.
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defamatory,” McKee, 874 F.3d at 61; see also [Compl. ¶¶ 102–03, 106] To the contrary, the

Complaint alleges that the MMP posts on which Opachinski commented contained false

assertions. See, e.g., [Compl. ¶ 102 (stating the MMP post “falsely attribut[ed]” certain

marketing to Plaintiff, “who had actually strongly opposed it”). 24

       The SLT Defendants additionally argue that any alleged defamatory statements are not

actionable because Plaintiff “is a limited[-]purpose public figure for purposes of these claims,”

and, as such, must show actual malice to recover, [ECF No. 44 at 18–19]. The Court disagrees

with the SLT Defendants that it is appropriate to dismiss Plaintiff’s claims on this ground at this

time. A person becomes a limited-purpose public figure when she “voluntarily injects [herself]

or is drawn into a particular public controversy and thereby becomes a public figure for a limited

range of issues.” Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 13 (1st Cir. 2011) (quoting

Gertz v. Robert Welch, Inc., 418 U.S. 323, 351 (1974)). “To determine whether a defamation

plaintiff is a limited-purpose public figure, the First Circuit employs a two-pronged test: the

defendants must prove (1) that a public controversy existed prior to the alleged defamation, and

(2) that ‘the plaintiff has attempted to influence the resolution of that controversy.’” Alharbi v.

Theblaze, Inc., 199 F. Supp. 3d 334, 355 (D. Mass. 2016) (citing Lluberes, 663 F.3d at 13–14).

Although the question of whether Plaintiff was a limited-purpose public figure is ultimately a

question of law, see Pendleton v. City of Haverhill, 156 F.3d 57, 68 (1st Cir. 1998), the inquiry is

“inescapably fact-specific,” Mandel v. Bos. Phoenix, Inc., 456 F.3d 198, 204 (1st Cir. 2006).




24
  The parties’ briefing skips many of the relevant prongs of the defamation analysis and makes
no attempt to parse the many statements Opachinski made that are alleged to be defamatory. As
such, the Court declines to undertake this analysis at this time. That said, the Court is satisfied
that at least one of Opachinski’s alleged statements sufficiently pleads defamation for purposes
of a motion to dismiss.
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Indeed, it is so fact-specific that it “does not always lend itself to summary judgment.” Lluberes,

663 F.3d at 14. Here, the Court is hesitant to conclude at this early stage that Plaintiff

“voluntarily injected herself into a public controversy” such that she is, as a matter of law, a

limited purpose public figure, particularly given that she is alleged to have done a great deal of

her work as a lawyer on behalf of private clients, and Defendants provide no authority to indicate

that such advocacy can render a lawyer a limited-purpose public figure merely because her case

is of public interest. Gertz, 418 U.S. at 352 (holding that petitioner, who was a lawyer in a

public controversy, and whose “participation related solely to his representation of a private

client,” was not a limited-public figure and noting that, in performing such an analysis “[i]t is

“preferable” to “look[] to the nature and extent of an individual’s participation in the particular

controversy giving rise to the defamation”). In light of the nature of Plaintiff’s public

participation and the necessarily fact-intensive inquiry, the Court declines to decide whether

Plaintiff was a limited-purpose public figure at this time.

       Finally, the SLT Defendants contend that to the extent Plaintiff has stated a claim against

Opachinski, his statements cannot be imputed to SLT because his posts “do not reference the

company” nor does his profile “purport to speak on SLT’s behalf.” [ECF No. 44 at 16]. Plaintiff

responds that, under the doctrine of respondeat superior, “[t]he determinative issue is not

whether a personal social media account is used or whether the company’s name is included.

Rather, it is whether the employee’s actions were undertaken to further the employer’s interests.”

[ECF No. 49 at 18]. The SLT Defendants counter that Plaintiff cherry-picks from the respondeat

superior standard, “the elements [of which are] as follows: ‘conduct of an agent is within the

scope of employment if it is of the kind he is employed to perform; if it occurs substantially

within the authorized time and space limits; and if it is motivated, at least in part, by a purpose to

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serve the employer.’” [ECF No. 63 at 9 (quoting Smith v. Jenkins, 732 F.3d 51, 72–73 (1st Cir.

2013) (quoting Wang Lab’ys, Inc. v. Bus. Incentives, Inc., 501 N.E.2d 1163, 1166 (1986)))].

       Defendant is correct regarding the standard Massachusetts courts typically employ in

analyzing whether an employer can be held liable for the torts of an employee under the doctrine

of respondeat superior. That said, respondeat superior is derived from the law of agency, which

establishes rules for when a principal may be held responsible for the acts of its agent. See

Merrimack College v. KPMG LLP, 108 N.E.3d 430, 437 (Mass. 2018). Here, Plaintiff pleads

that Opachinski is the “President and co-owner” of SLT, not a mere employee, [Compl. ¶ 12],

which, drawing every inference in Plaintiff’s favor at this stage, plausibly makes Opachinski a

principal. Pearce v. Duchesneau Grp., Inc., 392 F. Supp. 2d 63, 77 (D. Mass. 2005) (denying

motion to dismiss claim against company and “the principal and the president of the Company”

under doctrine of respondeat superior). His status certainly renders the first two prongs of the

respondeat superior test seemingly inapposite—as President and co-owner, it is unclear who

precisely would have hired Opachinski or authorized his posts—and the Complaint sufficiently

pleads that he was posting to MMP to “further[] the interests of his company.” [Compl. ¶ 66];

see also [id. ¶ 202 (alleging Opachinski’s interests related “principally to protecting [his] own

economic self-interest”)]. Indeed, the Court is unclear what competing inference would explain

why Opachinski participated so frequently and vehemently in an alleged online smear campaign

against a local lawyer, other than to maintain his company’s position in the local sand mining

industry. Thus, at this stage, the Court is satisfied that the Complaint has sufficiently pled a

claim against SLT; that said, the parties should be prepared to address in any subsequent




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dispositive motions how, if at all, the respondeat superior test is uniquely applied when

considering liability for corporate officers and directors. 25

        The SLT Defendants’ motion to dismiss Count 10 is DENIED. 26

                        3.      Makepeace Defendants

        Before turning to the defamation claims against the Makepeace Defendants, the Court

must first address the statute of limitations issue it set aside at the outset of this opinion. The

Makepeace Defendants contend that certain statements Plaintiff allege to be defamatory—

namely, statements made in a 2021 report from an unnamed Makepeace employee to the

Wareham police accusing Plaintiff of “harassing a truck driver” or “blocking a truck,” [Compl.

¶ 35]—are barred by the three-year statute of limitations on defamation. [ECF No. 34 at 11–12

(citing Mass. Gen. Laws ch. 260, § 2A)]. Plaintiff counters that the continuing violation doctrine




25
  The Complaint and the parties’ briefing also address whether SLT General Manager & Health
and Safety Officer Jason Martin’s Facebook comments, which are allegedly defamatory, could
impute liability to SLT. See, e.g., [Compl. ¶¶ 85, 118]; see also [ECF No. 44 at 16–17; ECF No.
49 at 17–22]. Because the Court is satisfied regarding Opachinski’s statements, it need not reach
Martin’s statements. The Court notes, however, that the Complaint does not plead any facts
which would indicate that Martin, as a manager and health and safety officer, was hired to
engage in public outreach about SLT or that he posted the comments with authorization.
26
   The Court recognizes that Plaintiff has brought claims for both slander and libel, but the only
allegation as to Opachinski’s spoken statements in the Complaint is that “[o]n information and
belief, Opachinski’s and SLT’s false statements were also disseminated to third parties orally.”
[Compl. ¶ 201]. This is insufficient to give the SLT Defendants sufficient notice as to which
defamatory statements they are alleging Opachinski made orally. Hogan v. Teamsters Local
170, 495 F. Supp. 3d 52, 61–62 (D. Mass. 2020) (holding that plaintiff is required to set forth the
“who, what, when, and where” of the alleged defamatory statements with sufficient particularity
to “give Defendants fair notice of the factual basis for Plaintiff's defamation claim”); see also
Educadores Puertorriqueños en Acción v. Hernández, 367 F.3d 61, 68 (1st Cir.
2004) (“[T]he complaint should at least set forth minimal facts as to who did what to whom,
when, where, and why—although why, when why means the actor’s state of mind, can be
averred generally.”). As such, while Count 10 survives, the claim is dismissed to the extent it is
predicated on slander.
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applies, comparing her claim to “a hostile work environment [claim] in the employment

context.” [ECF N. 37 at 11–12]. Plaintiff, however, has not brought a hostile work environment

claim. She has brought a defamation claim, and she provides no support for the proposition that

Massachusetts applies the continuing violation doctrine to such a claim. See Starer v. Baxter

Healthcare Corp., No. 96-cv-10683, 2003 WL 21918885, at *4 (D. Mass. Aug. 12, 2003)

(“Massachusetts courts have been hesitant to expand the concept of continuing torts to settings

other than nuisance and trespass actions.”); Flotech, Inc. v. E.I. Du Pont de Nemours Co., 627 F.

Supp. 358, 363–64 (D. Mass. 1985) (declining to apply continuing tort theory in defamation

action because of Massachusetts’ reluctance to extend theory), aff’d, 814 F.2d 775 (1st Cir.

1987). As such, the Court declines to adopt it here.

       Having discounted the time-barred allegations, the only alleged remaining defamatory

statements are those that Kane made at the September 28, 2021 Carver ZBA meeting. [Compl.

¶¶ 37, 294]. At that meeting, Kane is alleged to have asked for the opportunity to correct

Plaintiff’s statement that Makepeace was violating a bylaw on earth removal by conducting

commercial sand and gravel mining operations. [Id. ¶¶ 37–38]. Specifically, he is alleged to

have “contended that Sheehan’s engineering expert had recently been allowed on a site visit to

the Makepeace sites at issue in the hearing, that the visit was conducted by the Carver Earth

Removal Committee (‘ERC’) joined by the expert, and that Makepeace was found to be in

compliance at all three sites, apparently without objection by her expert.” [Id. ¶ 38]. Plaintiff

concedes that the “first portion of the statement, i.e., that the expert had been present for site

visits, was largely correct” but contends that the rest of the statement was false and had the effect

of “accus[ing Plaintiff] of being a liar, without actually using the word.” [Id. ¶¶ 38–39].




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       Defendants raise several arguments to Plaintiff’s defamation claim regarding this

statement, although this Court need not go further than Defendant’s first argument, which

contends that “the statements did not concern Plaintiff” and were, at best, “aimed at her

argument before the ZBA, which is not actionable.” [ECF No. 34 at 18–19]. The Court agrees.

Kane’s statement, as alleged, said nothing about Plaintiff, and Plaintiff provides no support for

the proposition that Kane’s alleged lie to the ZBA about Makepeace’s compliance constitutes

defamation simply because a listener might have drawn an inference that Plaintiff, instead of

Kane, was the liar. See generally [ECF No. 37]; see also [Compl. ¶¶ 37–39]. Even accepting for

purposes of this motion that Plaintiff had the better side of the compliance argument, on

Plaintiff’s theory, any factual disagreement between two individuals in the presence of a third-

party could render the losing side of the argument liable for defamation. In the absence of

persuasive or binding authority, the Court declines to extend defamation to such a situation.

       As such, the Makepeace Defendants’ motion to dismiss Count 23 is GRANTED.

           E.      Intentional Infliction of Emotional Distress

       Plaintiff brings claims for intentional infliction of emotional distress (“IIED”) against all

Defendants, including claims against: 1) Carver, Germain, and Gray, [Compl. ¶¶ 173–77 (Count

6)], 2) the SLT Defendants, [id. ¶¶ 205–09 (Count 11)]; 3) Plymouth, Cavacco, and Main, [id.

¶¶ 242–53 (Counts 17 and 18)]; and 4) the Makepeace Defendants, [id. ¶¶ 297–301 (Count 24)].

       As with defamation, the Municipal Defendants cannot be held liable for IIED in their

official capacities, but Germain, Gray, Cavacco, and Main can be held liable in their individual

capacities. See supra Section II.D.1. Plaintiff concedes that, as to Count 6 against Germain and

Gray, she failed to bring a claim against them in their individual capacities and will seek to add

one in an anticipated motion to amend. [ECF No. 78 at 25 n.15]. As to Counts 17 and 18, unlike

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the claims for defamation, the Complaint includes no language indicating that Plaintiff intended

to bring claims for IIED against Cavacco and Main in their individual capacities or to hold them

individually liable. See generally [Compl. ¶¶ 242–53]. Because all of the IIED claims appear to

be against the Municipal Defendants in their official capacities, the motion to dismiss Counts 6,

17, and 18 is GRANTED.

        This leaves the claims against the SLT and Makepeace Defendants. Under

Massachusetts law, to assert a claim IIED, Plaintiff must allege: “(1) that [the defendant]

intended, knew, or should have known that his conduct would cause emotional distress; (2) that

the conduct was extreme and outrageous; (3) that the conduct caused emotional distress; and (4)

that the emotional distress was severe.” Galvin v. U.S. Bank, N.A., 852 F.3d 146, 161 (1st Cir.

2017) (quoting Polay v. McMahon, 10 N.E.3d 1122, 1128 (Mass. 2014)). “The standard for

making a claim of [IIED] is very high.” Id. (citations and quotations omitted). “There is no

liability even if the defendant acted with an intent which is tortious or even criminal, with

malice, or with a degree of aggravation which would entitle the plaintiff to punitive damages for

another tort,” and “[n]ot even an intent to inflict emotional distress is sufficient.” Id. (citation,

quotations and punctuation omitted). “Conduct qualifies as extreme and outrageous only if it

goes beyond all possible bounds of decency, and is regarded as atrocious, and utterly intolerable

in a civilized community.” Id. (citation, quotations and punctuation omitted). “A judge may

grant a motion to dismiss where the conduct alleged in the complaint does not rise to this level.”

Id. (citation, quotations and punctuation omitted).

        Both the SLT and Makepeace Defendants primarily argue that Plaintiff’s allegations fail

on the second prong of the analysis in that they do not rise the level of “extreme or outrageous”

conduct. [ECF No. 34 at 22–23]; [ECF No. 44 at 19–21]. The Court is less than convinced. The

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SLT Defendants, for instance, make much ado of case law to the effect that “liability cannot be

predicated upon mere insults, indignities, threats, annoyances, petty oppressions, or other

trivialities,” [ECF No. 44 at 21 (quoting McCormick v. Lischynsky, 539 F. Supp. 3d 225, 244

(D. Mass. 2021))], but they ignore clear precedent that “[r]epeated harassment . . . may

compound the outrageousness of incidents which, taken individually, might not be sufficiently

extreme to warrant liability for infliction of emotional distress.” Sindi v. El-Moslimany, 896

F.3d 1, 21 (1st Cir. 2018) (quoting Boyle v. Wenk, 392 N.E.2d 1053, 1055 (Mass. 1979)). As

discussed many times supra, a campaign of repeated harassment, vilification, and embarrassment

is precisely what the Complaint alleges Opachinski and SLT have conducted. The Makepeace

Defendants’ similar contention that allegations such as “briefly videotaping someone standing on

a public roadway, 27 are not even close to the ‘extreme and outrageous’ conduct necessary to

inflict emotional harm,” [ECF No. 34 at 22–23], is also not dispositive. But cf. Thorpe v. Mut.

of Omaha Ins. Co., 984 F.2d 541, 545 (1st Cir. 1993) (holding insurance company’s “distasteful”

surveillance of claimant did not meet the standard as “extreme and outrageous” or “utterly

intolerable in a civilized society” under Massachusetts law because it was part of a legitimate

investigation “commonplace and to be expected where disability claims are involved” (citations

omitted)). Moreover, the Makepeace Defendants’ version of the incident does not fully account

for what Plaintiff alleges actually happened: Two black SUVs occupied by Makepeace security



27
   Again, Plaintiff urges the Court to consider the spring of 2021 incidents involving
Makepeace’s allegedly false Be on the Look Out (“BOLO”) to the Wareham Police Department
under the continuing violation doctrine in deciding her IIED claim, but the authority she offers in
support of applying the doctrine references an FTCA claim, not a state-based IIED claim. [ECF
No. 37 at 13 (citing Torres-Estrada v. Cases, 88 F.4th 14, 24 (1st Cir. 2023))]. This distinction is
critical, as Massachusetts courts have cautioned against expanding the concept of continuing
torts to settings other than nuisance and trespass actions, and the Court here will not extend it to
Plaintiff’s IIED claim. Starer, 2003 WL 21918885, at *4.
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personnel videotaped Plaintiff at close range, without apparent reason but with Kane’s

knowledge and consent, and attempted to engage her in a way that caused her to become

“concerned for her safe[t]y” and led her to report the incident to the Carver Police Department.

[Compl. ¶ 75]. Nor does it account for the circumstances of the surveillance—namely that it

took place amidst the year-long, cumulative conduct that has given rise to the viable claim that

the Makepeace Defendants conspired to violate her civil rights, coupled with largely

contemporaneous incidents of harassment and bullying at the hands of people alleged to have

been working on behalf of Makepeace. See, e.g., [id. ¶ 42 (incident where Department of

Interior agent, allegedly sent by Makepeace, threatened to charge Plaintiff’s videographer with

violations of federal law); ¶¶ 122, 127 (detailing various “condescending” interactions with

Makepeace attorney)].

       All to say, the Court is satisfied that, at least at this stage, Plaintiff has sufficiently pled

extreme and outrageous conduct on behalf of both the SLT and Makepeace Defendants. It is

also satisfied that she has pled the other elements of IIED as to both groups of defendants. 28 As

such, the SLT and Makepeace Defendants’ motions to dismiss Counts 11 and 24 are DENIED.

           F.      Invasion of Privacy




28
   See, e.g., [Compl. ¶¶ 75, 267, 280 (alleging incident where Makepeace security personnel
filmed her without her consent that was “clearly upsetting her” as it was happening and caused
her to become “concerned for her safety and well-being”); ¶¶ 86–87 (MMP posts regarding her
alleged hypocrisy, such as Opachinski’s, has had a “deleterious and substantial” impact on her
“emotional wellbeing”); ¶ 208 (alleging, among other things, SLT Defendants have caused her
“emotional distress . . . [that] is extreme and exhausting, interfering with every day of her life”);
¶ 300 (same regarding Makepeace Defendants, including that “she fears for her safety almost
constantly”)].

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       Plaintiff claims that Defendants’ actions violated Massachusetts General Laws ch. 214,

§ 1B, 29 the “Massachusetts Privacy Act,” which protects an individual’s right to be free from

“unreasonable, substantial or serious interference with [her] privacy.” [Compl. ¶¶ 302–05

(Count 25)]; Mass. Gen. Laws ch. 214, § 1B. To state a claim for invasion of privacy, Plaintiff

must prove that there was “[1] a gathering and dissemination of facts of a private nature that [2]

resulted in an unreasonable, substantial or serious interference with [her] privacy.” Branyan v.

Southwest Airlines Co., 105 F. Supp. 3d 120, 126 (D. Mass. 2015) (citing Nelson v. Salem State

Coll., 845 N.E.2d 338, 348 (Mass. 2006)). Under the first prong, the facts disseminated must be

of a “highly personal or intimate nature when there exists no legitimate, countervailing interest”

for the disclosure. Bratt v. Int’l Bus. Machines Corp., 467 N.E.2d 126, 134 (Mass. 1984). Under

the second prong, Plaintiff must show that the disclosure of her information was “both

unreasonable and either substantial or serious.” Ayash v. Dana-Farber Cancer Inst., 822 N.E.2d

667, 681–82 (Mass. 2005). Disclosure is an “essential element of the cause of action” for an

invasion of privacy. Dasey v. Anderson, 304 F.3d 148, 153 (1st Cir. 2004); see also Tobin v.

Fed. Exp. Corp., 775 F.3d 448, 451 (1st Cir. 2014) (stating that “[d]isclosure (that is, proof that

[a defendant] disclosed [private information] to a third party) is an essential element of the

plaintiff’s privacy claim”). An interference with an individual’s right to privacy that is

unreasonable but “only trivial or insubstantial” is not actionable. Schlesinger v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 567 N.E.2d 912, 914 (Mass. 1991).

        Plaintiff claims that her privacy was breached when the Doe Defendants, Germain,

Cavacco, Opachinski (and SLT through him and Jason Martin) (1) “posted and then grotesquely



29
  Plaintiff captions the claim as Mass. Gen. Laws. ch. 214, § 2B, which the Court assumes is a
typographical error, as the language she quotes comes from § 1B.
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altered photos of [Plaintiff’s] face and body including photoshopping her face onto a different

body,” (2) “posted on-line a photograph of the house in the region in which her elderly parents

live, making the identification of the home readily accessible,” (3) “posted the address of a

vacant house on-line, also making the identification of that property readily accessible,” and (4)

“have turned her age and gender into [] epithets . . . and discussed in an unflattering way[] her

family’s business and the details of its transactions for no reason other than to use them to

besmirch her.” [Compl. ¶ 303]. She further claims her right to privacy was breached when

Makepeace and Kane (1) “used her carefully protected home address in New Hampshire for the

purpose of intimidating her,” (2) “called in a BOLO to the Carver and Wareham Police

Departments with the false accusation that she had committed a significant vehicular crime,” and

(3) “videotaped her without her permission.” [Id.].

       Plaintiff provides no argument or authority, however, for how these incidents meet either

prong of the invasion of privacy analysis. [ECF No. 37 at 23–24]; [ECF No. 49 at 24–25]; [ECF

No. 78 at 27–28]. 30 At the outset, it is unclear to the Court how photoshopped images, rude

epithets, or an allegedly false claim of harassment constitute “intimate details” of a “highly

personal nature,” Bratt, 467 N.E.2d at 134, nor does Plaintiff provide any authority to indicate

that it should. Regarding the allegations related home addresses, in a case applying a standard

for invasion of privacy that provided “broader protection against disclosure” than does the

Massachusetts Privacy Act, the Massachusetts Supreme Judicial Court (“SJC”) reiterated that

“[n]ames and addresses of adults are not ‘intimate details’ of a ‘highly personal nature.’” Cape




30
   Moreover, while the count is nominally brought against “all Defendants,” it includes no
allegations related to Gray or Main, and the Complaint does not readily reveal any action that
would render them liable under the Massachusetts Privacy Act.
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    Cod Times v. Sheriff of Barnstable Cnty., 823 N.E.2d 375, 382 (Mass. 2005); see also Atty. Gen.

    v. Collector of Lynn, 385 N.E.2d 505, 508 (Mass. 1979) (holding name on tax delinquency list

    not intimate detail of highly personal nature); Pottle v. Sch. Comm. of Braintree, 482 N.E.2d

    813, 866 n.6 (Mass. 1985) (stating invasion of privacy standard under the public records

    exemption at issue in Collector of Lynn is “a standard more favorable to nondisclosure than [the

    Massachusetts Privacy Act]”). Finally, while the conduct itself may be distasteful, Makepeace

       and Kane are not alleged to have disclosed any of the videotapes that Makepeace’s security

       officers took without Plaintiff’s permission, which defeats the invasion of privacy claim. Tobin,

    775 F.3d at 451 (holding that in order to bring a claim under Massachusetts General Laws ch.

    214, § 1B, “the plaintiff must, at a bare minimum, carry the burden of proving that a disclosure

    took place”). As such, Defendants’ motions to dismiss Count 25 are GRANTED.

III.          CONCLUSION

              For the foregoing reasons, Defendants’ motions to dismiss are GRANTED in part and

    DENIED in part. Specifically:

                      •   The motion to dismiss the § 1983 claims against the Municipal Defendants in

                          their official and individual capacities (Counts 2, 3, 4, 12, 13, 14) are

                          DENIED as to the First Amendment and GRANTED as to the Fourteenth

                          Amendment.

                      •   The motions to dismiss the § 1983 conspiracy claims against the SLT

                          Defendants and the Makepeace Defendants (Counts 7, 19, and 20) are

                          DENIED.

                      •   The motions to dismiss the § 1985(3) claims against the SLT Defendants and

                          the Makepeace Defendants (Counts 8 and 21) are GRANTED.

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              •   The motions to dismiss the MCRA claims against the SLT Defendants and the

                  Makepeace Defendants (Counts 9 and 22) are DENIED.

              •   The motions to dismiss the defamation claims against the Municipal

                  Defendants (Counts 5, 15, and 16) are GRANTED as to their official

                  capacities and DENIED as to Germain, Cavacco, and Main in their individual

                  capacities.

              •   The motion to dismiss the defamation claim against the SLT Defendants

                  (Count 10) is DENIED.

              •   The motion to dismiss the defamation claim against the Makepeace

                  Defendants (Count 23) is GRANTED.

              •   The motion to dismiss the IIED claims against the Municipal Defendants in

                  both their official and individual capacities (Counts 6, 17, and 18) is

                  GRANTED.

              •   The motions to dismiss the IIED claims against the SLT Defendants and the

                  Makepeace Defendants (Counts 11 and 24) are DENIED.

              •   The motions to dismiss the Massachusetts Privacy Act claim against

                  Defendants (Count 25) are GRANTED.

      SO ORDERED.

May 7, 2025                                                 /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE




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